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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    KATERRA INC., et al.,1                                           )   Case No. 21-31861 (DRJ)
                                                                     )
                        Debtors.                                     )   (Joint Administration Requested)
                                                                     )   (Emergency Hearing Requested)

    INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN POSTPETITION
         FINANCING, (II) GRANTING LIENS AND PROVIDING SUPERPRIORITY
      ADMINISTRATIVE EXPENSE CLAIMS, (III) MODIFYING AUTOMATIC STAY,
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

             Upon the motion, dated June 7, 2021 (the “Motion”)2 of Katerra Inc., a Delaware

corporation (the “Company”) and its affiliated debtors in the above-captioned chapter 11 cases

(collectively, the “Chapter 11 Cases”), as debtors and debtors in possession (collectively,

the “Debtors”), seeking entry of an order (this “Interim Order”) pursuant to sections 105, 362, 363,

364(c)(l), 364(c)(2), 364(c)(3), 364(d), 364(e), and 507 of chapter 11 of title 11 of the United States

Code (the “Bankruptcy Code”), rules 2002, 4001, 6004, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 4001-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the Southern District

of Texas (the “Local Rules”):

             (i)       authorizing the Debtors to obtain senior secured postpetition financing on a

superpriority basis in the aggregate principal amount of up to $35,000,000 (the “DIP Facility” and,



1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
    principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
    Scottsdale, Arizona 85258.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Motion.
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all amounts extended under the DIP Facility, the “DIP Loans”), pursuant to the terms and

conditions of that certain Senior Secured Super-Priority Debtor-in-Possession Promissory Note

(as the same may be amended, restated, supplemented, extended, or otherwise modified from time

to time, the “DIP Agreement” and, together with any exhibits attached thereto and other

agreements related thereto, including, without limitation, all notices, guarantees, security

agreements, ancillary documents and agreements, and any mortgages contemplated thereby, each

as amended, restated, supplemented, extended or otherwise modified from time to time the “DIP

Documents”), by and among the Company (in such capacity, the “Borrower”) and SB Investment

Advisers (UK) Limited (the “DIP Lender”), substantially in the form attached hereto as

Schedule 1;

       (ii)       authorizing the Debtors to execute, deliver, enter into and otherwise perform

their respective obligations under the DIP Documents and to perform such other acts as may be

necessary or appropriate in connection with the same;

       (iii)      authorizing the Debtors to borrow up to $25,000,000 (plus all interest paid in

kind) under the DIP Facility (the “Initial Funding Amount”) upon entry of this Interim Order to

avoid immediate and irreparable harm;

       (iv)       authorizing the Debtors, other than the Borrower, to guarantee the

DIP Obligations (as defined below) pursuant to the DIP Documents;

       (v)        granting all obligations under the DIP Facility and under, or secured by, the

DIP Documents (collectively, the “DIP Obligations”) the status of allowed superpriority

administrative expense claims in each of the Chapter 11 Cases;

       (vi)       granting to the DIP Lender, to secure the DIP Obligations, automatically

perfected security interests in and liens on all of the DIP Collateral (as defined below);



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       (vii)      authorizing and directing the Debtors to pay the principal, interest, fees,

expenses, and other amounts payable under the DIP Documents as such become earned, due and

payable;

       (viii)     vacating and modifying the automatic stay imposed by section 362 of the

Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of

the DIP Documents and this Interim Order; and

       (ix)       scheduling a final hearing (the “Final Hearing”) within 35 days of the Petition

Date (as defined below) to consider the relief requested in the Motion on a final basis and

approving the form of notice with respect to the Final Hearing.

       The Court having considered the Motion, the exhibits attached thereto, the Declaration of

Matthew R. Niemann in Support of the Debtors’ Emergency Motion for Entry of Interim and Final

Orders (A) Authorizing the Debtors to Obtain Postpetition Financing, (B) Granting Liens and

Providing Claims with Superiority Administrative Expense Status, (C) Modifying the Automatic

Stay, (D) Scheduling A Final Hearing, and (E) Granting Related Relief, the Declaration of Marc

Liebman in Support of Chapter 11 Petitions and First Day Motions, filed contemporaneously with

the Motion, and the evidence submitted and arguments made at the interim hearing held on

June 7, 2021 (the “Interim Hearing”); and notice of the Interim Hearing having been given in

accordance with Bankruptcy Rules 2002, 4001(b), (c) and (d), and all applicable Local Rules; and

the Interim Hearing having been held and concluded; and all objections, statements, and

reservations of rights, if any, to the interim relief requested in the Motion having been withdrawn,

resolved, or overruled by the Court; and it appearing that approval of the interim relief requested

in the Motion is necessary to avoid immediate and irreparable harm to the Debtors and their estates

pending the Final Hearing, and otherwise is fair and reasonable and in the best interests of the



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Debtors, their estates, and all parties-in-interest, and is essential for the continued operation of the

Debtors’ businesses and the preservation of the value of the Debtors’ assets; and it appearing that

the Debtors’ entry into the DIP Agreement and the other DIP Documents is a sound and prudent

exercise of the Debtors’ business judgment; and after due deliberation and consideration, and good

and sufficient cause appearing therefor;

BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE

COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

LAW:3

                   A. Petition Date. On June 7, 2021 (the “Petition Date”), each of the Debtors filed

a voluntary petition for relief under chapter 11 of the Bankruptcy Code in this Court.

                   B. Debtors in Possession. The Debtors have continued in the management and

operation of their businesses and properties as debtors in possession pursuant to sections 1107 and

1108 of the Bankruptcy Code.

                   C. Jurisdiction and Venue. This Court has jurisdiction over the Chapter 11 Cases,

the Motion, and the parties and property affected hereby pursuant to 28 U.S.C. § 1334.

Consideration of the Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

Venue for the Chapter 11 Cases and proceedings with respect to the Motion is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                   D. Committee Formation. As of the date hereof, the United States Trustee for the

Southern District of Texas (the “U.S. Trustee”) has not appointed an official committee of




3        The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
    extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
    extent any of the following conclusions of law constitute findings of fact, they are adopted as such.


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unsecured creditors in the Chapter 11 Cases (together with any statutory committee that may be

appointed or formed in the Chapter 11 Cases or Successor Cases (as defined herein),

the “Committee”) pursuant to section 1102 of the Bankruptcy Code.

               E. Notice. Proper, timely, adequate, and sufficient notice of the Motion and the

Interim Hearing has been provided in accordance with the Bankruptcy Code, the Bankruptcy

Rules, and the Local Rules, and no other or further notice of the Motion with respect to the relief

requested at the Interim Hearing or the entry of this Interim Order shall be required.

               F. Reserved.

               G. Findings Regarding Postpetition Financing.

                       (i)    Request for Postpetition Financing. The Debtors seek authority to

enter into the DIP Facility and incur the DIP Obligations on the terms described herein and in the

DIP Documents to administer their Chapter 11 Cases and fund their operations.               At the

Final Hearing, the Debtors will seek final approval of the DIP Facility pursuant to a proposed final

order (the “Final Order”) and authorization to borrow an additional $10,000,000 under the

DIP Agreement upon entry of the Final Order (the “Final Funding Amount” and, together with the

Initial Funding Amount, the “Funding Amount”) which Final Order (a) shall be substantially the

same as the Interim Order and otherwise acceptable to the DIP Lender except that (1) those

provisions in the Interim Order that are subject to the entry of the Final Order (including the

Stipulations (as defined below) in paragraph 37) shall be included in the Final Order without such

qualification, and (2) where appropriate, references to this Interim Order shall be changed to

references to the Final Order, and (b) with respect to any other modifications to the Interim Order,

shall be consistent with the DIP Agreement and shall otherwise be in form and substance

acceptable to the DIP Lender and the Debtors. Notice of the Final Hearing and the proposed Final



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Order will be provided in accordance with this Interim Order.

                       (ii)    Immediate Need for Postpetition Financing. The Debtors have

demonstrated an immediate and critical need to obtain credit in an amount equal to the Funding

Amount pursuant to the DIP Facility as their cash on hand is de minimis. The Debtors’ immediate

access to the DIP Facility is critical in order to, among other things, continue their ordinary course

operations, administer these Chapter 11 Cases, and maximize the value of their estates. The ability

of the Debtors to maintain business relationships with their remaining vendors, suppliers, and

customers, to pay their employees, to pay for certain costs and expenses related to the

Chapter 11 Cases, conduct a marketing process for certain or all of their assets and to otherwise

finance their operations until entry of the Final Order requires the availability of working capital

from the DIP Facility, the absence of which would immediately and irreparably harm the Debtors,

their estates, their creditors, and other parties in interest. The Debtors have extremely limited

available sources of working capital to operate their businesses or maintain their properties in the

ordinary course of business until the Final Order is entered without the authorization to borrow the

Initial Funding Amount. The Debtors’ access to sufficient working capital and liquidity through

the incurrence of indebtedness under the DIP Documents, and the other financial accommodations

provided thereunder, is therefore necessary and vital to the preservation and maintenance of the

value of the Debtors and their estates and to the successful prosecution of these Chapter 11 Cases.

No other financing is available to the Debtors.

                       (iii)   No Credit Available on More Favorable Terms. The DIP Facility is

the best and only source of debtor-in-possession financing available to the Debtors. Given the

critical nature of their current financial condition, the Debtors have been and continue to be unable

to obtain financing from sources other than the DIP Lender. The Debtors have been unable to



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obtain unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an

administrative expense. The Debtors have also been unable to obtain: (a) unsecured credit having

priority over that of administrative expenses of the kind specified in sections 503(b), 507(a), and

507(b) of the Bankruptcy Code; (b) credit secured solely by a lien on property of the Debtors and

their estates that is not otherwise subject to a lien; or (c) credit secured solely by a junior lien on

property of the Debtors and their estates that is subject to a lien. Financing on a postpetition basis

on better terms is not available without granting the DIP Lender (1) perfected security interests in

and liens on (each as provided herein) the DIP Collateral, with the priorities set forth herein,

(2) superpriority claims, and (3) the other protections set forth in this Interim Order. Absent access

to the DIP Facility, the Debtors would likely be immediately forced to convert each of these

Chapter 11 Cases to a liquidation under chapter 7 of the Bankruptcy Code.

                             (iv)     Use of Proceeds of the DIP Facility. As a condition to entry into

the DIP Agreement and the extension of credit under the DIP Facility, the DIP Lender requires,

and the Debtors have agreed, that proceeds of the DIP Facility shall be used in a manner consistent

in all material respects with the terms and conditions of this Interim Order and the DIP Documents

and in accordance in all material respects with the budget (as the same may be modified from time

to time consistent with the terms of the DIP Documents and subject to Permitted Variance (as

defined in the DIP Agreement), and as set forth in paragraph 11 hereof, the “Budget”)4 (subject to

Permitted Variances), solely for the purposes set forth in the DIP Agreement and this Interim

Order, including: (a) ongoing working capital and other general corporate purposes of the Debtors;

(b) permitted payment of costs of administration of the Chapter 11 Cases, including restructuring

charges arising on account of the Chapter 11 Cases, including statutory fees of the U.S. Trustee


4   A copy of the initial Budget is attached hereto as Schedule 1.


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and allowed professional fees and expenses of the Debtors’ professionals and professionals

retained by a Committee (if any); (c) payment of prepetition expenses to the extent permitted by

the DIP Facility; (d) payment of interest, fees, expenses, and other amounts (including, without

limitation, legal and other professionals’ fees and expenses of the DIP Lender) owed under the

DIP Documents, including those incurred in connection with the preparation, negotiation,

documentation, and the Court’s approval of the DIP Facility; and (e) payment of obligations

arising from or related to the Carve-Out (as defined below), and making disbursements therefrom,

including by funding the Carve-Out Reserve Account (as defined below).

                       (v)     Application of Proceeds of DIP Collateral. As a condition to entry

into the DIP Agreement and the extension of credit under the DIP Facility, the Debtors and the

DIP Lender have agreed that as of and commencing on the date of the Interim Hearing, the Debtors

shall apply the proceeds of the DIP Collateral in accordance with this Interim Order.

               H. Section 506(c). Subject to and upon entry of the Final Order, in light of the DIP

Lender’s agreement (i) that its liens and superpriority claims shall be subject to any Prior Perfected

Liens (as defined below) and the Carve-Out, and (ii) to the payment (in accordance in all material

respects with the Budget) (subject to the Permitted Variance (as defined in the DIP Agreement))

and subject to the terms and conditions of this Interim Order and the DIP Documents) of certain

expenses of administration of these Chapter 11 Cases, to the extent the DIP Collateral can be

surcharged under section 506(c) of the Bankruptcy Code, the DIP Lender is entitled to a waiver of

the provisions of section 506(c) of the Bankruptcy Code.

               I. Good Faith of the DIP Lender. Based upon the pleadings and proceedings of

record in the Chapter 11 Cases: (i) the terms and conditions of the DIP Facility are fair and

reasonable, are appropriate for secured financing to debtors in possession, are the best and only



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available to the Debtors under the circumstances, reflect the Debtors’ exercise of prudent business

judgment consistent with their fiduciary duties, and are supported by reasonably equivalent value

and fair consideration; (ii) the terms and conditions of the DIP Facility have been negotiated in

good faith and at arm’s length among the Debtors and the DIP Lender, with the assistance and

counsel of their respective advisors; (iii) any credit to be extended, loans to be made, and other

financial accommodations to be extended to the Debtors by the DIP Lender, including, without

limitation, pursuant to this Interim Order, have been allowed, advanced, extended, issued, or made,

as the case may be, in “good faith” within the meaning of section 364(e) of the Bankruptcy Code

by the DIP Lender in express reliance upon the protections offered by section 364(e) of the

Bankruptcy Code; and (iv) the DIP Facility, the DIP Liens (as defined below), and the

DIP Superpriority Claims (as defined below), shall be entitled to the full protection of

section 364(e) of the Bankruptcy Code in the event that this Interim Order or any provision hereof

is vacated, reversed, or modified, on appeal or otherwise.

               J. Final Funding. The DIP Lender shall only be required to provide the Final

Funding Amount upon (i) entry of the Final Order (as defined below) acceptable to the DIP Lender,

(ii) the Stipulations in paragraph 37 becoming final and effective and not subject to further

Challenge (as defined herein), and (iii) all other conditions in the DIP Agreement being satisfied

or waived.

               K. Immediate Entry.       Sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(c)(2).

               L. Interim Hearing. Notice of the Interim Hearing and the emergency relief

requested in the Motion has been provided by the Debtors, whether by facsimile, electronic mail,

overnight courier, or hand delivery to certain parties in interest, including the Notice Parties.



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Under the circumstances, such notice of the Interim Hearing and the relief requested in the Motion

constitutes due, sufficient, and appropriate notice and complies with section 102(1) of the

Bankruptcy Code, Bankruptcy Rules 2002 and 4001(c), and Local Rules 2002-1 and 4001-1(b).

       Based upon the foregoing findings and conclusions, the Motion, and the record before the

Court with respect to the Motion, and after due consideration and good and sufficient cause

appearing therefor,

       IT IS HEREBY ORDERED THAT:

               1. DIP Facility Approved on Interim Basis. The DIP Facility, in an amount equal

to $25,000,000 (plus all interest paid in kind), is hereby authorized and approved, subject to the

terms and conditions set forth in the DIP Documents and this Interim Order. All objections,

statements, and reservations of rights to this Interim Order, to the extent not withdrawn, waived,

settled, or resolved, are hereby denied and overruled. This Interim Order shall become effective

immediately upon its entry.

               2. Authorization of the DIP Facility. The DIP Facility is hereby approved. The

Debtors are expressly and immediately authorized and empowered to execute and deliver the

DIP Documents and to incur and to perform the DIP Obligations in accordance with, and subject

to, the terms of this Interim Order and the DIP Documents and to deliver all instruments,

certificates, agreements, and documents that may be required or necessary for the performance by

the Debtors under the DIP Facility and the creation and perfection of the DIP Liens. The Debtors

are hereby authorized and directed to pay, in accordance with this Interim Order, the principal,

interest, premiums, fees, payments, reasonable and documented expenses, and other amounts

described in the DIP Documents as such amounts become earned, due and payable, without need

to obtain further Court approval, whether or not such fees arose before or after the Petition Date



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to implement all applicable reserves, and to take any other actions that may be necessary or

appropriate, all to the extent provided in this Interim Order or the DIP Documents. All collections

and proceeds, whether from ordinary course collections, asset sales, debt or equity issuances,

insurance recoveries, condemnations, or otherwise, will be deposited and applied as required by,

and subject to the terms of, this Interim Order and the DIP Documents. Upon execution and

delivery, the DIP Documents shall represent valid and binding obligations of the Debtors,

enforceable against each of the Debtors and their estates in accordance with their terms.

               3. Authorization to Borrow. To prevent immediate and irreparable harm to the

Debtors’ estates, upon the entry of this Interim Order through and including the earliest to occur

of (a) entry of the Final Order or (b) the DIP Termination Date (as defined below), and subject to

the terms and conditions set forth in the DIP Documents and this Interim Order, the Debtors are

hereby authorized to request extensions of credit (in the form of DIP Loans) under the DIP Facility

in an amount up to the aggregate outstanding principal of $25,000,000 (plus all interest paid in

kind).

               4. Amendment of the DIP Documents. The DIP Documents may from time to time

be amended, modified, or supplemented by the parties thereto without further order of the Court if

the amendment, modification, or supplement is (a) non-material and (b) in accordance with the

DIP Documents. In the case of a material amendment, modification, or supplement to the

DIP Documents, the Debtors shall (i) provide notice (which may be provided through electronic

mail or facsimile) to counsel to any Committee (if appointed), the U.S. Trustee, and the

DIP Lender; (ii) provide notice to the Court; (iii) obtain written approval from the DIP Lender;

and (iv) obtain approval of the Court.

               5. DIP Obligations. The DIP Documents and this Interim Order shall constitute



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and evidence the validity and binding effect of the DIP Obligations, which shall be enforceable

against the Debtors, their estates, and any successors thereto, any trustee appointed in the Chapter

11 Cases or in any case under chapter 7 of the Bankruptcy Code upon the conversion of any of the

Chapter 11 Cases, or in any other proceedings superseding or related to any of the foregoing

(collectively, the “Successor Cases”). Upon entry of this Interim Order, the DIP Obligations will

include all DIP Loans and any other indebtedness or obligations, contingent or absolute, which

may now or from time to time be owing by any of the Debtors to the DIP Lender, in each case,

under the DIP Documents or this Interim Order, including, without limitation, all principal,

accrued and unpaid interest, costs, fees, reasonable and documented expenses, and other amounts

owing under the DIP Documents. The Debtors shall be jointly and severally liable for the DIP

Obligations. The DIP Obligations shall be due and payable, without notice or demand, on the DIP

Termination Date (as defined herein), except as provided in paragraph 20 herein and subject to the

requirements of the Carve-Out. No obligation, payment, transfer, or grant of collateral security

hereunder or under the DIP Documents (including any DIP Obligation or DIP Liens) shall be

stayed, restrained, voidable, avoidable, or recoverable under the Bankruptcy Code or under any

applicable law (including, without limitation, under chapter 5 of the Bankruptcy Code, section

724(a) of the Bankruptcy Code, or any other provision with respect to avoidance actions under the

Bankruptcy Code or applicable state law equivalents), shall constitute original issue discount, or

shall be subject to any avoidance, reduction, setoff, recoupment, offset, recharacterization,

subordination (whether equitable, contractual, or otherwise), counterclaim, cross-claim, defense,

or any other challenge under the Bankruptcy Code or any applicable law or regulation by any

person or entity.

               6. DIP Liens. Subject and subordinate solely to any Prior Perfected Liens and the



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Carve-Out as set forth in this Interim Order, and effective immediately upon entry of this

Interim Order, pursuant to sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of the

Bankruptcy Code, the DIP Lender is hereby granted, in order to secure the DIP Obligations,

continuing, valid, binding, enforceable, non-avoidable, and automatically and properly perfected

postpetition security interests in and liens on (collectively, the “DIP Liens”) all real and personal

property, whether now existing or hereafter arising and wherever located, tangible, or intangible,

of each of the Debtors (the “DIP Collateral”), including, without limitation, (a) all cash, cash

equivalents, deposit accounts, securities accounts, accounts, other receivables (including credit

card receivables), chattel paper, contract rights, inventory (wherever located), instruments,

documents, securities (whether or not marketable), and investment property (including, without

limitation, all of the issued and outstanding capital stock of each Debtor, other equity or ownership

interests, including equity interests in subsidiaries and non-wholly-owned subsidiaries), hedge

agreements, furniture, fixtures, equipment (including documents of title), goods, franchise rights,

trade names, trademarks, servicemarks, copyrights, patents, license rights, intellectual property,

general intangibles (including, for the avoidance of doubt, payment intangibles), rights to the

payment of money (including, without limitation, tax refunds and any other extraordinary

payments), supporting obligations, letter of credit rights, commercial tort claims, causes of action,

and all substitutions, indemnification rights, all present and future intercompany debt, leases,

leaseholds, fee interests in real property owned by the Debtors, books and records, and accessions

and proceeds of the foregoing, wherever located, including insurance or other proceeds; (b) all

owned real property interests and all proceeds of leased real property; (c) actions brought under

section 549 of the Bankruptcy Code to recover any postpetition transfer of DIP Collateral;

(d) subject to and upon entry of the Final Order, the proceeds of any avoidance actions brought



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pursuant to chapter 5 of the Bankruptcy Code or section 724(a) of the Bankruptcy Code or any

other avoidance actions under the Bankruptcy Code or applicable state law equivalents (the

“Avoidance Action Proceeds”); (e) subject to and upon entry of the Final Order, the proceeds of

any exercise of the Debtors’ rights under section 506(c) and 550 of the Bankruptcy Code; and (f)

all DIP Collateral that was not otherwise subject to valid, perfected, enforceable, and non-

avoidable liens on the Petition Date, in each case other than Excluded Property (as defined in the

DIP Documents). Notwithstanding anything to the contrary herein, this Interim Order does not

provide liens on or security interests in any assets of the Debtors that are held as trust funds,

pursuant to contract, statute or otherwise, arising out of or relating to any contract or obligation

that is the subject matter of any surety bonds or related indemnity agreements (in each case, if any,

and solely to the extent such surety bonds or indemnity agreements or applicable law provide for

such assets to be held as trust funds) issued by Zurich American Insurance Company, Fidelity and

Deposit Company of Maryland, Liberty Mutual Insurance Company, and their respective

subsidiaries, affiliates, and associated companies (collectively, the “Sureties”), and nothing in this

Interim Order and/or the DIP Documents shall alter or modify the terms and conditions of such

surety bonds and related indemnity agreements or impair any rights of subrogation under contract

or applicable law that the Sureties may have. All rights of the Sureties are reserved pending the

final hearing on the Motion and the entry of the Final Order.

               7. DIP Lien Priority. The DIP Liens shall have the following priority:

                       (a)     pursuant to Section 364(c)(2) of the Bankruptcy Code, the

DIP Liens shall be first priority liens on all of the DIP Collateral that are not otherwise subject to

any valid, perfected, enforceable, and non-avoidable liens on the Petition Date, regardless of where

located;



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                       (b)     pursuant to section 364(d) of the Bankruptcy Code, the DIP Liens

shall be first priority liens on all of the DIP Collateral regardless of where located and regardless

whether or not any liens on such assets are voided, avoided, invalidated, lapsed or unperfected,

and which shall be subject and junior only to the Carve-Out and valid, perfected and non-avoidable

liens, if any, in existence immediately prior to the Petition Date (any such lien, a “Prior Perfected

Lien”);

                       (c)     other than with respect to any Prior Perfected Lien and the

Carve-Out, or in the DIP Documents, the DIP Liens shall not be made subject to or pari passu

with any lien or security interest heretofore or hereinafter granted or perfected in the Chapter 11

Cases or any Successor Cases and shall be valid and enforceable against any trustee appointed in

the Chapter 11 Cases or any Successor Cases, upon the conversion of any of the Chapter 11 Cases

to any Successor Case, and/or upon the dismissal of any of the Chapter 11 Cases or Successor

Cases. The DIP Liens shall not be subject to any of sections 510, 549, or 550 of the Bankruptcy

Code. No lien or interest avoided and preserved for the benefit of the estate pursuant to section

551 of the Bankruptcy Code shall be pari passu with or senior to the DIP Liens.

               8. Superpriority Claims.       Subject to the Carve-Out, upon entry of this

Interim Order, the DIP Lender is hereby granted, pursuant to section 364(c)(1) of the

Bankruptcy Code, allowed superpriority administrative expense claims in each of the Chapter 11

Cases and any Successor Cases (collectively, the “DIP Superpriority Claims”) for all

DIP Obligations (a) with priority over any and all administrative expense claims and unsecured

claims against the Debtors or their estates in any of the Chapter 11 Cases or any Successor Cases,

at any time existing or arising, of any kind or nature whatsoever, including, without limitation,

administrative expenses of the kinds specified in or ordered pursuant to sections 105, 326, 328,



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330, 331, 364, 503(a), 503(b), 507(a), 507(b), 546(c), 546(d), 726, 1113, or 1114 of the

Bankruptcy Code or any other provision of the Bankruptcy Code, and (b) which shall at all times

be senior to the rights of the Debtors and their estates, and any successor trustee or other estate

representative to the extent permitted by law. The DIP Superpriority Claims shall be payable from,

and have recourse to, all prepetition and postpetition property of the Debtors and all proceeds

thereof.

               9. No Obligation to Extend Credit. Except as required to fund the Carve-Out as

set forth in this Interim Order, the DIP Lender shall have no obligation to make any loan or advance

or to issue, amend, renew, or extend any letters of credit or bankers’ acceptance under the

DIP Documents unless all of the conditions precedent to the making of such extension of credit or

the issuance, amendment, renewal, or extension of such letter of credit or bankers’ acceptance

under the DIP Documents and this Interim Order have been satisfied or waived by the DIP Lender

in accordance with the terms of the DIP Agreement.

               10.     Use of Proceeds of DIP Facility. From and after the Petition Date, the

Debtors shall use proceeds of borrowings under the DIP Facility consistent with the terms set forth

in this Interim Order and the DIP Documents, and, in each case, in compliance in all material

respects with the Budget (subject to the Permitted Variance and the terms and conditions in this

Interim Order and the DIP Documents).

               11.     Budget Maintenance. The Debtors shall use the proceeds of all borrowings

under the DIP Facility in accordance with the Budget, subject in all respects to the

Permitted Variance. The Budget annexed hereto as Schedule 2 shall constitute the initial Budget,

which, for the avoidance of doubt, is acceptable to the DIP Lender. By no later than 5:00 p.m.

(Pacific Standard Time) on July 2, 2021 and by no later than 5:00 p.m. (Pacific Standard Time) by



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the end of each fiscal month occurring thereafter, the Debtors shall provide to the DIP Lender an

updated monthly statement of the Debtors’ anticipated cash receipts and disbursements for the

subsequent one-month period (a “Proposed Budget”), which Proposed Budget shall modify and

supersede any prior Budget upon the approval of the DIP Lender. Each Budget delivered to the

DIP Lender shall be accompanied by such supporting documentation as reasonably requested by

the DIP Lender or its legal and financial advisors, and each Budget shall be prepared in good faith

based upon assumptions the Debtors believe to be reasonable at the time of delivery. Once so

approved by the DIP Lender, the Proposed Budget shall become the then-approved Budget;

provided that, unless and until the DIP Lender approves such Proposed Budget, the then-current

Budget shall remain in effect, effective as of the beginning of the week immediately following the

week in which it was delivered.

               12.     Budget and Reporting Compliance.           The Debtors shall comply in all

material respects with the Budget, subject to the Permitted Variance, and the Debtors shall provide

all reports and other information as required in the DIP Agreement. The Debtors’ failure to comply

with the Budget (subject to the Permitted Variance) or to provide the reports and other information

required in the DIP Agreement shall constitute an Event of Default (as defined below), following

the expiration of any applicable grace period set forth in the DIP Agreement.

               13.     Modification of Automatic Stay. Subject to paragraph 24 hereof, the

automatic stay imposed under section 362(a)(2) of the Bankruptcy Code is hereby modified as

necessary to effectuate all of the terms and provisions of this Interim Order, including, without

limitation, to: (a) permit the Debtors to grant the DIP Liens and DIP Superpriority Claims;

(b) permit the Debtors to perform such acts as the DIP Lender may reasonably request to assure

the perfection and priority of the liens granted herein; (c) permit the Debtors to incur all liabilities



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and obligations to the DIP Lender under the DIP Agreement, the other DIP Documents, the DIP

Facility, and this Interim Order; and (d) authorize the Debtors to pay, and the DIP Lender to retain

and apply, payments made in accordance with the terms of this Interim Order.

               14.     Perfection of DIP Liens.          This Interim Order shall be sufficient and

conclusive evidence of the creation, validity, perfection, and priority of all liens granted herein,

including the DIP Liens, without the necessity of filing or recording any financing statement,

mortgage, notice, or other instrument or document that may otherwise be required under the law

or regulation of any jurisdiction or the taking of any other action (including, for the avoidance of

doubt, entering into any deposit account control agreement) to validate or perfect (in accordance

with applicable non-bankruptcy law) the DIP Liens or to entitle the DIP Lender to the priorities

granted herein. Notwithstanding the foregoing, the DIP Lender is authorized to file or record, as

it in its sole discretion deems necessary or advisable, such financing statements, security

agreements, mortgages, notices of liens, and other similar documents to perfect its respective liens

in the DIP Collateral in accordance with applicable non-bankruptcy law, and all such financing

statements, mortgages, notices, and other documents shall be deemed to have been filed or

recorded as of the Petition Date; provided, however, that no such filing or recordation shall be

necessary or required in order to create or perfect the DIP Liens. The Debtors are authorized to

execute and deliver, promptly upon reasonable request and in accordance with the DIP Documents,

to the DIP Lender, all such financing statements, mortgages, notices, and other documents as the

DIP Lender may reasonably request. The DIP Lender, in its discretion, may file a photocopy of

this Interim Order as a financing statement with any filing or recording office or with any registry

of deeds or similar office, in addition to or in lieu of such financing statements, notices of lien, or




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similar instrument, and all applicable officials are hereby directed to accept a photocopy of this

Interim Order for filing or recordation for such purpose.

                15.     Protections of Rights of DIP Lender.

                        (a)     Unless the DIP Lender shall have provided its prior written consent,

or all DIP Obligations have been indefeasibly paid in full in cash and the lending commitments

under the DIP Facility have terminated, there shall not be entered in any of these Chapter 11 Cases

or any Successor Cases any order (including any order confirming any plan of reorganization or

liquidation) that authorizes any of the following (unless such order provides for the simultaneous

satisfaction of such obligations): (i) the obtaining of credit or the incurring of indebtedness that is

secured by a security, mortgage, or collateral interest or other lien on all or any portion of the

DIP Collateral or that is entitled to administrative priority status, in each case that is superior to or

pari passu with the DIP Liens or the DIP Superpriority Claims, except as expressly set forth in

this Interim Order or the DIP Documents; or (ii) any modification of any of the DIP Lender’s rights

under this Interim Order or the DIP Documents with respect to any DIP Obligations.

                        (b)     The Debtors will, until the DIP Obligations have been indefeasibly

paid in full in cash: (i) maintain the Debtors’ books, records, and accounts; (ii) reasonably

cooperate with, consult with, and provide to the DIP Lender all such information and documents

reasonably requested by the DIP Lender, including all information and documents the Debtors are

required to provide under the DIP Documents or the provisions of this Interim Order (in each case

other than documents and/or information which may be not shared under applicable law or

confidentiality obligations or otherwise is subject to attorney client privilege); (iii) authorize their

independent certified public accountants, financial advisors, investment bankers and consultants

to cooperate and consult with the DIP Lender; (iv) upon reasonable advance notice and during



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normal business hours, permit the DIP Lender to visit and inspect any of the Debtors’ respective

properties, to examine and make abstracts or copies from any of their respective books and records,

to tour the Debtors’ business premises and other properties, and to discuss their respective affairs,

finances, properties, business operations, and accounts with their respective officers, employees,

independent public accountants, and other professional advisors; (v) permit the DIP Lender to,

upon reasonable advance notice and during normal business hours, consult with the Debtors’

management and advisors on matters concerning the Debtors’ businesses, financial condition,

operations, and assets; and (vi) upon reasonable advance notice and during normal business hours,

permit the DIP Lender to conduct, at its discretion, field audits, collateral examinations, and

liquidation valuations at reasonable times in respect of any or all of the DIP Collateral.

               16.     Credit Bidding. In connection with any sale process authorized by the

Court, whether effectuated through sections 363, 725, 1123, or 1129 of the Bankruptcy Code, the

DIP Lender may credit bid up to the full amount of the outstanding DIP Obligations including any

accrued and unpaid interest, expenses, fees, and other obligations for its collateral (a “Credit Bid”)

pursuant to section 363(k) of the Bankruptcy Code. None of the Debtors or any Committee (if

appointed) shall object to the DIP Lender’s right to Credit Bid up to the full amount of the

applicable outstanding DIP Obligations in any sale of any DIP Collateral, whether such sale is

effected through section 363, 1123 or 1129 of the Bankruptcy Code, by a chapter 7 trustee under

section 725 of the Bankruptcy Code, or otherwise.

               17.     Proceeds of Subsequent Financing.         If the Debtors, any trustee, any

examiner with expanded powers, or any responsible officer subsequently appointed in these

Chapter 11 Cases or any Successor Cases shall obtain credit or incur debt pursuant to

sections 364(b), 364(c), 364(d) of the Bankruptcy Code in violation of the DIP Documents or this



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Interim Order at any time prior to the indefeasible repayment in full of all DIP Obligations and the

termination of the DIP Lender’s obligation to extend credit under the DIP Facility, including

subsequent to the confirmation of any plan with respect to any or all of the Debtors (if applicable),

then all the cash proceeds derived from such credit or debt shall immediately be turned over to the

DIP Lender to be applied in accordance with this Interim Order and the DIP Documents.

               18.     Maintenance of DIP Collateral. Until the indefeasible payment in full of all

DIP Obligations, and the termination of the DIP Lender’s obligation to extend credit under the

DIP Facility, the Debtors shall (a) insure the DIP Collateral, including as required under the

DIP Documents, and (b) maintain the cash management system in effect as of the Petition Date,

as modified by any order entered by the Court (which order must be reasonably acceptable to the

DIP Lender) including pursuant the Interim Order (I) Authorizing The Debtors To (A) Continue

To Operate Their Cash Management System And Maintain Existing Bank Accounts, (B) Maintain

Existing Business Forms And Books And Records, And (C) Continue To Perform Intercompany

Transactions And (II) Granting Related Relief or the Final Order (I) Authorizing The Debtors To

(A) Continue To Operate Their Cash Management System And Maintain Existing Bank Accounts,

(B) Maintain Existing Business Forms And Books And Records, And (C) Continue To Perform

Intercompany Transactions And (II) Granting Related Relief, as applicable.

               19.     Disposition of DIP Collateral. Except to the extent permitted by the DIP

Agreement, the Debtors shall not sell, transfer, lease, encumber, or otherwise dispose of any

portion of the DIP Collateral without the prior written consent of the DIP Lender (and no such

consent shall be implied, from any other action, inaction, or acquiescence by the DIP Lender) in

accordance with the DIP Documents.

               20.      Mandatory Prepayments.          The Debtors shall be required to make



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mandatory prepayments of the DIP Facility in accordance with the terms of the DIP Agreement

(“Mandatory Prepayments”). Mandatory Prepayments will result in a dollar-for-dollar permanent

reduction of the then-outstanding DIP Loans in accordance with the DIP Agreement.

               21.     DIP Termination Date. On the DIP Termination Date, subject to the Carve-

Out, all DIP Obligations shall be immediately due and payable, all commitments to extend credit

under the DIP Facility will terminate, other than as required in paragraph 30 with respect to the

Carve-Out, and the DIP Lender shall be entitled to exercise rights and remedies under the DIP

Documents in accordance with this Interim Order, subject to paragraphs 24 and 32.

               22.     Events of Default. The occurrence of any of the following events, unless

waived by the DIP Lender in writing and in accordance with the terms of the DIP Agreement, shall

constitute an event of default (collectively, the “Events of Default” and each, an “Event of

Default”) under this Interim Order: the occurrence of an “Event of Default” as set forth in section 6

the DIP Agreement.

               23.     Case Milestones. As a condition to the DIP Facility, the Debtors shall

comply with the milestones set forth on Exhibit D of the DIP Agreement (the “Case Milestones”).

For the avoidance of doubt, the failure of the Debtors to comply with any of the Case Milestones,

unless waived by the DIP Lender in writing (which includes by electronic mail) and in accordance

with the terms of the DIP Agreement, shall (a) constitute an Event of Default under each of (i) the

DIP Agreement and (ii) this Interim Order; and (b) permit the DIP Lender to exercise the rights

and remedies provided for (and subject to) in this Interim Order and the DIP Documents.

               24.     Rights and Remedies Upon Event of Default.           Immediately upon the

occurrence and during the continuation of an Event of Default, notwithstanding the provisions of

section 362 of the Bankruptcy Code, without any application, motion or notice to, hearing before,



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or order of the Court, but subject to the terms of this Interim Order, (a) the DIP Lender may declare

(i) all outstanding DIP Obligations to be immediately due and payable, (ii) the termination,

reduction, or restriction of any further commitment to extend credit to the Debtors to the extent

any such commitment remains under the DIP Facility, (iii) termination of the DIP Facility and the

DIP Documents as to any future liability or obligation of the DIP Lender, without affecting any of

the DIP Liens or the DIP Obligations, or the post-petition administrative superpriority claim status

of the DIP Obligations, and (iv) that the application of the Carve-Out has occurred through the

delivery of the Carve-Out Trigger Notice (as defined below) to the Debtors; and (b) the DIP Lender

may declare a termination, reduction or restriction of the Debtors’ ability to use any cash collateral

(any such declaration shall be referred to as a “Termination Declaration” and the date on which a

Termination Declaration is delivered shall be referred to as the “DIP Termination Date”). A

Termination Declaration shall be given by electronic mail (or other electronic means) to counsel

to the Debtors, counsel to a Committee (if appointed), and the U.S. Trustee; provided that, prior to

the exercise of any right in clauses (a)(i) through (iv) and (b) of this paragraph, the DIP Lender

shall be required to file a motion with the Court seeking emergency relief from the automatic stay

(the “Stay Relief Motion”) on at least five (5) business days’ written notice to counsel to the

Debtors, the U.S. Trustee, and counsel to any Committee appointed in these Chapter 11 Cases (the

“Remedies Notices Parties,” and such five business day period, the “Remedies Notice Period”);

provided, however that, during the Remedies Notice Period, the Debtors and/or a Committee (if

appointed) shall be entitled to seek an emergency hearing from the Court for the purpose of

contesting whether an Event of Default has occurred and/or is continuing, and upon and after

delivery of the Termination Notice, the DIP Lender consents to such emergency hearing. At the

hearing on the Stay Relief Motion, the Court may fashion an appropriate remedy upon a



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determination that an Event of Default has occurred or has occurred and is continuing, which may

include permitting the DIP Lender to exercise all rights and remedies available against the DIP

Collateral permitted by law or equity, without further notice to, hearing on, or order from this

Court, subject to the Carve-Out; provided, further that the automatic stay shall remain in effect

until the Court has an opportunity to rule on the Stay Relief Motion. The DIP Lender and any

liquidator or other professional will have the right to access and utilize, at no cost or expense, any

trade names, trademarks, copyrights, or other intellectual property of the Debtors to the extent

necessary or appropriate in order to sell, lease, or otherwise dispose of any of the DIP Collateral

including pursuant to any Court-approved sale process.

               25.     Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification

or Stay of this Interim Order. Based on the findings set forth in this Interim Order and the record

made during the Interim Hearing, and in accordance with section 364(e) of the Bankruptcy Code,

in the event any or all of the provisions of this Interim Order are hereafter modified, amended, or

vacated by a subsequent order of this Court or any other court of competent jurisdiction, the

DIP Lender is entitled to the protections provided in section 364(e) of the Bankruptcy Code. Any

such modification, amendment, or vacatur shall not affect the validity and enforceability of any

advances previously made or made hereunder, or lien, claim, or priority authorized or created

hereby.

               26.     Payment of Fees and Expenses. Upon the Maturity Date, the Debtors are

authorized and directed to pay all reasonable and documented prepetition and postpetition fees and

out-of-pocket expenses of the legal and financial advisors to the DIP Lender including, without

limitation, the reasonable and documented fees and expenses of Weil, Gotshal & Manges LLP, as

set forth in this paragraph 26. Professionals of the DIP Lender shall not be required to comply



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with the U.S. Trustee fee guidelines; however, any time that such professionals seek approval of

fees and expenses from the Debtors, each professional shall provide summary copies of its fee and

expense statements or invoices (which shall not be required to contain time entries and may be

redacted or modified to the extent necessary to delete any information subject to the attorney-client

privilege, any information constituting attorney work product, or any other confidential

information, and the provision of such invoices shall not constitute any waiver of the attorney-

client privilege or of any benefits of the attorney work-product doctrine) to the U.S. Trustee and

counsel to the Committee (if appointed) contemporaneously with the delivery of such fee and

expense statements to the Debtors; provided, however, that the Debtors, the U.S. Trustee, and the

Committee (if appointed) reserve their rights to request additional detail regarding the services

rendered and expenses incurred by such professionals, subject to any attorney-client privilege.

After delivery of a fee and expense statement or invoice, the Debtors, the U.S. Trustee, and the

Committee (if appointed) shall have ten (10) days to raise an objection thereto. If an objection is

timely raised, such objection shall be subject to resolution by the Court. Pending such resolution,

the undisputed portion of any such fee and expense statement or invoice shall be deemed approved

by the Debtors for payment upon the Maturity Date as DIP Obligations. Notwithstanding the

foregoing, upon entry of this Interim Order the Debtors are authorized and directed to pay at the

Maturity Date all reasonable and documented fees, costs, and out-of-pocket expenses of the legal

and financial advisors to the DIP Lender incurred on or prior to such date without the need for any

professional engaged by the DIP Lender to first deliver a copy of its invoice as provided for herein.

No attorney or advisor to the DIP Lender shall be required to file an application seeking

compensation for services or reimbursement of expenses with the Court. Any and all fees, costs,

and expenses paid prior to the Petition Date by any of the Debtors to the DIP Lender are hereby



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approved in full.

               27.     Reserved.

               28.     Proofs of Claim. The DIP Lender will not be required to file proofs of claim

in any of the Chapter 11 Cases or Successor Cases for any administrative expenses allowed herein.

               29.     Professional Fees Account.

                       (a)    The Debtors shall (i) contemporaneously with the initial funding of

the Loans (as defined in the DIP Agreement), transfer cash proceeds from the DIP Facility in an

amount equal to the total budgeted weekly Allowed Professional Fees for the first two weekly

periods set forth in the Budget and (ii) thereafter on a weekly basis transfer cash proceeds from

the DIP Facility or cash on hand in an amount equal to the total budgeted weekly Allowed

Professional Fees for the next unfunded week set forth in the Budget, in each case into a segregated

account (the “Professional Fees Account”).

                       (b)    The Debtors shall cause funds held in the Professional Fees Account

to be used to pay Allowed Professional Fees solely as they become allowed and payable pursuant

to any interim or final orders of the Bankruptcy Court or otherwise; provided that when all allowed

Professional Fees have been paid in full (regardless of when such Allowed Professional Fees are

allowed by the Bankruptcy Court), any funds remaining in the Professional Fees Account shall

revert to the Debtors for use in accordance with the DIP Agreement and this Interim Order;

provided, further that the Debtors’ obligations to pay Allowed Professional Fees shall not be

limited or be deemed limited to funds held in the Professional Fees Account.

                       (c)    The Professional Fees Account, and all funds held in the

Professional Fees Account, shall be held in trust exclusively for the benefit the

Professional Persons (as defined below), including with respect to obligations arising out of the



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Carve-Out. Funds transferred to the Professional Fees Account shall not be subject to any liens or

claims granted to the DIP Lender or to any other party pursuant to this Interim Order, shall not

constitute DIP Collateral, and shall not be or be deemed to be property of any Debtor’s estate;

provided that the DIP Collateral shall include the Debtors’ reversionary interest in funds held in

the Professional Fees Account, after all Allowed Professional Fees have been indefeasibly paid in

full in cash (regardless of when such Allowed Professional Fees are allowed by the Court).

                30.     Carve-Out.

                        (a)     Carve-Out. As used in this Interim Order, the “Carve-Out” means,

upon delivery of the Carve-Out Trigger Notice, the sum of (i) all fees required to be paid to the

Clerk of the Court and to the Office of the United States Trustee under section 1930(a) of title 28

of the United States Code plus interest at the statutory rate pursuant to 31 U.S.C. § 3717 (without

regard to the notice set forth in (iii) below); (ii) all reasonable fees and expenses up to $50,000

incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard to the notice

set forth in (iii) below); (iii) to the extent allowed at any time, whether by interim order, procedural

order, or otherwise, all unpaid fees and expenses (excluding any unpaid fees and expenses of

Houlihan Lokey Capital, Inc. and any transaction fee, success fee, or similar fees of any other

Professional Person (as defined below) (the “Exempt Professional Fees”)) incurred by persons or

firms retained by the Debtors pursuant to sections 327, 328, or 363 of the Bankruptcy Code (the

“Debtor Professionals”) and the Committee pursuant to sections 328 or 1103 of the Bankruptcy

Code (the “Committee Professionals” and, together with the Debtor Professionals, the

“Professional Persons” and, such fees and expenses of the Professional Persons, the “Allowed

Professional Fees”) at any time before or on the first business day following delivery by the DIP

Lender of a Carve Out Trigger Notice (as defined below), whether allowed by the Court prior to



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or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees of Professional

Persons in an aggregate amount not to exceed $1,000,000 incurred after the first business day

following delivery by the DIP Lender of the Carve Out Trigger Notice, to the extent allowed at

any time, whether by interim order, procedural order, or otherwise (the amounts set forth in this

clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the foregoing, “Carve

Out Trigger Notice” shall mean a written notice delivered by email (or other electronic means) by

the DIP Lender to the Debtors, their lead restructuring counsel, the U.S. Trustee, and counsel to

the Committee, which notice may be delivered following the occurrence and during the

continuation of an Event of Default and acceleration of the DIP Obligations under the DIP Facility

or the occurrence of the Maturity Date (as defined in the DIP Agreement), stating that the Post-

Carve Out Trigger Notice Cap has been invoked.

                       (b)    Carve Out Reserves. On the day on which a Carve Out Trigger

Notice is given by the DIP Lender to the Debtors with a copy to counsel to the Committee

(the “Termination Declaration Date”), the Carve Out Trigger Notice shall (i) be deemed a draw

request and notice of borrowing by the Debtors for DIP Loans under the DIP Facility (each, as

defined in the DIP Agreement) (on a pro rata basis based on the then outstanding DIP Obligations),

in an amount equal to the then unpaid amounts of the Allowed Professional Fees (any such amounts

actually advanced shall constitute DIP Loans) and (ii) also constitute a demand to the Debtors to

utilize all cash on hand (including in the Professional Fees Account) as of such date and any

available cash thereafter held by any Debtor to fund a reserve in an amount equal to the then unpaid

amounts of the Allowed Professional Fees. The Debtors shall deposit and hold such amounts in a

segregated account in trust to pay such then unpaid Allowed Professional Fees (the “Pre-Carve

Out Trigger Notice Reserve”) prior to the use of such reserve to pay any and all other claims. On



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the Termination Declaration Date, the Carve Out Trigger Notice shall also (i) be deemed a request

by the Debtors for DIP Loans under the DIP Facility (on a pro rata basis based on the then

outstanding DIP Obligations), in an amount equal to the Post-Carve Out Trigger Notice Cap (any

such amounts actually advanced shall constitute DIP Loans) and (ii) constitute a demand to the

Debtors to utilize all cash on hand as of such date and any available cash thereafter held by any

Debtor, after funding the Pre-Carve Out Trigger Notice Reserve, to fund a reserve in an amount

equal to the Post-Carve Out Trigger Notice Cap. The Debtors shall deposit and hold such amounts

in a segregated account in trust to pay such Allowed Professional Fees benefiting from the Post-

Carve Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with

the Pre-Carve Out Trigger Notice Reserve, the “Carve Out Reserves”) prior to any and all other

claims. On the first business day after the DIP Lender gives a Carve Out Trigger Notice,

notwithstanding anything in the DIP Agreement to the contrary, including with respect to the

existence of a Default (as defined in the DIP Agreement) or Event of Default, the failure of the

Debtors to satisfy any or all of the conditions precedent for DIP Loans under the DIP Facility, any

termination of the DIP Obligations following an Event of Default, or the occurrence of the

Maturity Date, the DIP Lender shall make available such borrowing in accordance with the DIP

Facility. All funds in the Pre-Carve Out Trigger Notice Reserve shall be used first to pay the

obligations set forth in clauses (i) through (iii) of the definition of Carve Out set forth above (the

“Pre-Carve Out Amounts”), but not, for the avoidance of doubt, the Post-Carve Out Trigger Notice

Cap, until paid in full, and then, to the extent the Pre-Carve Out Trigger Notice Reserve has not

been reduced to zero, to pay the DIP Lender, unless the DIP Obligations have been indefeasibly

paid in full, in cash, and all Commitments have been terminated. All funds in the Post-Carve Out

Trigger Notice Reserve shall be used first to pay the obligations set forth in clause (iv) of the



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definition of Carve Out set forth above (the “Post-Carve Out Amounts”), and then, to the extent

the Post-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay the DIP Lender,

unless the DIP Obligations have been indefeasibly paid in full, in cash, and all Commitments have

been terminated. Notwithstanding anything to the contrary in the DIP Documents, or this Interim

Order, if either of the Carve Out Reserves is not funded in full in the amounts set forth in this

paragraph 30, then, any excess funds in one of the Carve Out Reserves following the payment of

the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be used to fund the

other Carve Out Reserve, up to the applicable amount set forth in this paragraph 30, prior to making

any payments to the DIP Lender. Notwithstanding anything to the contrary in the DIP Documents

or this Interim Order, following delivery of a Carve Out Trigger Notice, the DIP Lender shall not

sweep or foreclose on cash (including cash received as a result of the sale or other disposition of

any assets) of the Debtors until the Carve Out Reserves have been fully funded, but shall have a

valid and perfected security interest in any residual interest in the Carve Out Reserves, with any

excess paid to the DIP Lender for application in accordance with the terms of this Interim Order

DIP Documents. Further, notwithstanding anything to the contrary in this Interim Order,

(i) disbursements by the Debtors from the Carve Out Reserves shall not constitute additional Loans

(as defined in the DIP Agreement) (unless, for the avoidance of doubt, additional DIP Loans are

used to fund the Carve-Out Reserves) or increase or reduce the DIP Obligations, (ii) the failure of

the Carve Out Reserves to satisfy in full the Allowed Professional Fees shall not affect the priority

of the Carve Out, and (iii) in no way shall the Budget, Carve Out, Post-Carve Out Trigger Notice

Cap, Carve Out Reserves, or any of the foregoing be construed as a cap or limitation on the amount

of the Allowed Professional Fees due and payable by the Debtors. For the avoidance of doubt and

notwithstanding anything to the contrary in this Interim Order or the DIP Facility, the Carve Out



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shall be senior to all liens and claims securing the DIP Facility and any and all other forms of

adequate protection, liens, or claims securing the DIP Obligations.

                      (c)     Payment of Allowed Professional Fees Prior to the Termination

Declaration Date. Any payment or reimbursement made prior to the occurrence of the Termination

Declaration Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

                      (d)     No Direct Obligation To Pay Allowed Professional Fees. The

DIP Lender shall not be responsible for the payment or reimbursement of any fees or

disbursements of any Professional Person incurred in connection with the Chapter 11 Cases or any

successor cases under any chapter of the Bankruptcy Code. Nothing in this Interim Order or

otherwise shall be construed to obligate the DIP Lender, in any way, to pay compensation to, or to

reimburse expenses of, any Professional Person or to guarantee that the Debtors have sufficient

funds to pay such compensation or reimbursement.

                      (e)     Payment of Carve Out On or After the Termination Declaration

Date. Any payment or reimbursement made on or after the occurrence of the Termination

Declaration Date in respect of any Allowed Professional Fees shall permanently reduce the Carve

Out on a dollar-for-dollar basis. Any funding of the Carve Out shall be added to, and made a part

of, the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled to the

protections granted under this Interim Order, the DIP Documents, the Bankruptcy Code, and

applicable law.

               31.    Limitations on Use of DIP Proceeds and Carve-Out. No proceeds of the

DIP Facility or the DIP Collateral and no portion of the Carve-Out or Carve-Out Reserve Account

may be used in connection with (a) preventing, hindering, or delaying the DIP Lender’s realization

upon any of the DIP Collateral or enforcement of any of its rights with respect thereto in



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accordance with paragraph 24; (b) for any purpose that is prohibited under this Interim Order, the

Final Order (when entered), the DIP Documents, or the Bankruptcy Code; (c) to finance in any

way: (i) any adversary action, suit, arbitration, proceeding, application, motion, or other litigation

of any type adverse to the interests of the DIP Lender or any of its affiliates, agents, attorneys,

advisors, professionals, officers, directors, or employees, or their respective rights and remedies

under DIP Documents, the Interim Order, or the Final Order (when entered), including, without

limitation, any actions under chapter 5 of the Bankruptcy Code, section 724(a) of the

Bankruptcy Code, or any other avoidance actions under the Bankruptcy Code or applicable state

law equivalents, or (ii) any other action, which with the giving of notice or passing of time, would

result in an Event of Default under the DIP Documents; (d) for the payment of any prepetition

claims, other than payments expressly permitted in the Budget; (e) to make any distribution under

a plan of reorganization in the Chapter 11 Cases that does not provide for the indefeasible payment

of the DIP Loans in full and in cash; (f) except as expressly permitted by the Budget, to make any

payment in settlement of any claim, action, or proceeding in excess of $100,000 in the aggregate

without the prior written consent of the DIP Lender; (g) selling or otherwise disposing of the

DIP Collateral without the consent of the DIP Lender; (h) incurring Indebtedness (as defined in

the DIP Agreement), except to the extent permitted under the DIP Agreement; (i) seeking to amend

or modify any of the rights granted to the DIP Lender under this Interim Order or the

DIP Documents, subject to the terms hereof; or (j) seeking to subordinate, recharacterize, disallow,

or avoid the DIP Obligations; provided, however, that the proceeds of the DIP Facility may be

used, subject to entry of the Final Order, for allowed fees and expenses, in an amount not to exceed

$100,000 in the aggregate (the “Committee Investigation Budget Amount”), incurred solely by a

Committee (if appointed), in investigating the releases granted in paragraph 37 herein



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(the “Committee Investigation”) before the Challenge Deadline; provided, however, that nothing

contained in this paragraph 31 shall prohibit the Debtors from (i) responding or objecting to or

complying with discovery requests of any Committee, in whatever form, made in connection with

a Committee Investigation or the payment from the DIP Collateral of professional fees related

thereto or (ii) using the Carve Out to contest or challenge whether an Event of Default has in fact

occurred.

               32.     Effect of Stipulations on Third Parties.

                       (a)     Generally.    The Debtors’ admissions, stipulations, agreements,

releases, and waivers set forth in this Interim Order (collectively, the “Stipulations”) shall be

binding on the Debtors, any trustee, or any other estate representative appointed in the

Chapter 11 Cases or any Successor Cases. Notwithstanding the foregoing, if a chapter 11 trustee

is appointed or the Chapter 11 Cases are converted to chapter 7 prior to the expiration of the

Challenge Deadline, (1) the chapter 11 trustee or chapter 7 trustee, as applicable, shall have until

the later of the Challenge Deadline or the sixtieth (60th) day after the appointment of the chapter

11 trustee or the conversion of the Chapter 11 Cases to chapter 7, as applicable, to commence a

Challenge, subject to any further extension by order of the Court for cause. The Stipulations shall

also be binding on all creditors and other parties in interest and all of their respective successors

and assigns, including, without limitation, a Committee (if appointed), unless, and solely to the

extent that, a party in interest with standing and requisite authority (i) has timely commenced an

appropriate adversary proceeding or contested matter required under the Bankruptcy Code and

Bankruptcy Rules, including, without limitation, as required pursuant to Part VII of the Bankruptcy

Rules (in each case subject to the limitations set forth in this paragraph 32) asserting or prosecuting

any action for preferences, fraudulent conveyances, other avoidance power claims or any other



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claims, counterclaims or causes of action, objections, contests or defenses against the DIP Lender,

its affiliates, representatives, attorneys or advisors (each such proceeding or contested matter, a

“Challenge”) by no later than the date that is sixty (60) days from the formation of the Committee

(the “Challenge Deadline”), as such deadline may be extended in writing from time to time in the

sole discretion of the DIP Lender or by this Court for good cause shown pursuant to an application

filed by a party in interest prior to the expiration of the Challenge Deadline, and (ii) this Court

enters judgment in favor of the plaintiff or movant in any such timely and properly commenced

Challenge and any such judgment has become a final judgment that is not subject to any further

review or appeal, and then only to the extent of any such final judgment; provided that the

Stipulations in paragraph 37 shall be effective upon (i) entry of the Final Order and (ii) the

conclusion of the Board Investigation determining that the releases in paragraph 37 are a

reasonable exercise of the Debtors’ business judgment and in the best interests of the Debtors’

estates. The DIP Lender’s obligation to fund the Final Funding Amount shall be subject in all

respects to the entry of the Final Order in form and substance acceptable to the DIP Lender

(including the Stipulations in paragraph 37 herein becoming effective as set forth in this paragraph

32), and any other conditions in the DIP Agreement.

                       (b)     Binding Effect. To the extent no Challenge is timely and properly

commenced by the Challenge Deadline, or to the extent such Challenge does not result in a final

and non-appealable judgment or order that is inconsistent with any of the Stipulations, then,

without further notice, motion, or application to, order of, or hearing before, this Court and without

the need or requirement to file any proof of claim, the Stipulations shall, pursuant to this Interim

Order, become irrevocably binding on any person, entity, or party in interest in the Chapter 11

Cases, as well as their successors and assigns, and in any Successor Case for all purposes and shall



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not be subject to further challenge or objection. Notwithstanding anything to the contrary herein,

if any Challenge is properly and timely commenced by a party in interest, the Stipulations shall

nonetheless remain binding on all other parties in interest. To the extent any Challenge is timely

and properly commenced (i) the DIP Lender shall be entitled to, as adequate protection, payment

of the related costs and expenses, including, but not limited to, reasonable attorneys’ fees, incurred

in defending themselves against any Challenge and (ii) in accordance with the terms of the

DIP Documents, the DIP Lender shall be under no obligation to advance the Final Funding

Amount to the Debtors.

               33.     No Third-Party Rights. Except as explicitly provided for herein, this

Interim Order does not create any rights for the benefit of any third party, creditor, equity holder,

or any direct, indirect, or incidental beneficiary.

               34.     Section 506(c) Claims. Subject to and upon entry of the Final Order, to the

extent the DIP Collateral can be surcharged under sections 105 or 506(c) of the Bankruptcy Code,

no costs or expenses of administration that have been or may be incurred in the Chapter 11 Cases

at any time shall be charged against the DIP Lender or the DIP Collateral, pursuant to sections 105

or 506(c) of the Bankruptcy Code, or otherwise, without the express written consent of the DIP

Lender, and no such consent shall be implied from any action, inaction, or acquiescence by any

party.

               35.     No Marshaling/Applications of Proceeds. Subject to and upon entry of the

Final Order, the DIP Lender shall not be subject to the equitable doctrine of “marshaling” or any

other similar doctrine with respect to any of the DIP Collateral.

               36.     Limits on Lender Liability. Nothing in this Interim Order, any of the

DIP Documents or any other documents related thereto, shall in any way be construed or



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interpreted to impose or allow the imposition upon the DIP Lender of any liability for any claims

arising from any activities by the Debtors in the operation of their businesses or in connection with

the administration of these Chapter 11 Cases or any Successor Cases. The DIP Lender shall not,

solely by reason of having made loans under the DIP Facility, be deemed in control of the

operations of the Debtors or to be acting as a “responsible person” or “owner or operator” with

respect to the operation or management of the Debtors (as such terms, or any similar terms, are

used in the United States Comprehensive Environmental Response, Compensation and Liability

Act, 29 U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute). Nothing in this

Interim Order or the DIP Documents shall in any way be construed or interpreted to impose or

allow the imposition upon the DIP Lender of any liability for any claims arising from the

prepetition or postpetition activities of any of the Debtors.

               37.     Releases. Subject to entry of the Final Order and the Conflicts Committee

of the Company’s Board of Directors conducting an independent investigation (such investigation

the “Board Investigation”) and the Board Investigation concluding that granting the releases

contemplated herein is a reasonable exercise of business judgment, and is in the best interest of

the Debtors’ estates, each of the Debtors (in their own right, on behalf of their estates, current and

former affiliates, and each such entity’s and its current and former affiliates’ current and former

directors and officers, managers and equityholders (regardless of whether such interests are held

directly or indirectly), predecessors, successors and assigns, and subsidiaries, and each of such

entity’s current and former officers, members, managers, directors, equity holders (regardless of

whether such interests are held directly or indirectly), principals, members, employees, agents,

independent contractors, representatives, managed accounts or funds, management companies,

fund advisors, investment advisors, financial advisors, partners (including both general and limited



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partners), representatives, in each case to the extent permitted by applicable law and solely in such

parties capacity as such) (collectively, the “Releasing Parties”) hereby unconditionally and

irrevocably releases, acquits, forever discharges and covenants not to sue the DIP Lender, its

current and former affiliates, and each such entity’s current and former directors and officers,

managers and equityholders (regardless of whether such interests are held directly or indirectly),

predecessors, successors and assigns, and subsidiaries, and each of such entity’s current and former

officers, members, managers, directors, equity holders (regardless of whether such interests are

held directly or indirectly), principals, members, employees, agents, independent contractors,

representatives, managed accounts or funds, management companies, fund advisors, investment

advisors, financial advisors, partners (including both general and limited partners) (the “Released

Parties”) (provided that, notwithstanding anything to the contrary herein, neither a portfolio

company nor any employee of such portfolio company or director of such portfolio company who

is otherwise unaffiliated with a Released Party shall constitute an “affiliate” or “representative”)

from any and all acts and omissions of the Released Parties, and from any and all claims, interests,

causes of action, avoidance actions, counterclaims, demands, controversies, suits, judgments,

costs, debts, sums of money, accounts, reckonings, bonds, bills, damages, obligations, objections,

legal proceedings, equitable proceedings, executions of any nature, type, or description, and

liabilities whatsoever (including any derivative claims asserted or assertable on behalf of the

Debtors, their estates, or successors), which the Releasing Parties have or may come to have

against the Released Parties through the date of the Final Order, at law or in equity, by statute or

common law, in contract, in tort, including, without limitation, Bankruptcy Code chapter 5 causes

of action, whether the law of the United States or any other country, union, organization of foreign

countries or otherwise, liquidated or unliquidated, fixed or contingent, known or unknown,



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suspected or unsuspected, disputed or undisputed, but excluding obligations under the DIP Facility

arising after the date of the Final Order (collectively, the “Released Claims”). This paragraph is

in addition to and shall not in any way limit any other release, covenant not to sue, or waiver by

the Releasing Parties in favor of the Released Parties. Notwithstanding the releases and covenants

in favor of the Released Parties contained above in this paragraph, such releases and covenants in

favor of the Released Parties shall be deemed acknowledged and reaffirmed by the Debtors each

time there is an advance of funds, extension of credit, or financial accommodation under this

Interim Order or the DIP Documents. As of the date hereof, there exist no claims or causes of

action against the DIP Lender with respect to, in connection with, related to, or arising from this

Interim Order, the DIP Agreement, or the other DIP Documents that may be asserted by the

Debtors or, to the Debtors’ knowledge, any other person or entity.

               38.     Insurance Policies. Upon entry of this Interim Order and to the fullest extent

provided by applicable law, the DIP Lender shall be, and shall be deemed to be, without any further

action or notice, named as additional insured and loss payee on each insurance policy maintained

by the Debtors that in any way relates to the DIP Collateral.

               39.     Joint and Several Liability. Nothing in this Interim Order shall be construed

to constitute a substantive consolidation of any of the Debtors’ estates, it being understood,

however, that the Debtors shall be jointly and severally liable for the obligations hereunder and all

DIP Obligations in accordance with the terms hereof and of the DIP Documents.

               40.     Rights Preserved. Notwithstanding anything herein to the contrary, the

entry of this Interim Order is without prejudice to, and does not constitute a waiver of, expressly

or implicitly: (a) the DIP Lender’s rights to seek any other or supplemental relief; (b) any of the

DIP Lender’s rights under the Bankruptcy Code or applicable non-bankruptcy law, including,



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without limitation, the right to (i) request modification of the automatic stay imposed by

section 362 of the Bankruptcy Code, (ii) request dismissal of any of the Chapter 11 Cases or

Successor Cases, conversion of any of the Chapter 11 Cases to cases under chapter 7, or

appointment of a chapter 11 trustee or examiner with expanded powers, or (iii) propose, subject to

the provisions of section 1121 of the Bankruptcy Code, a chapter 11 plan or plans; or (c) any other

rights, claims, or privileges (whether legal, equitable, or otherwise) of the DIP Lender.

Notwithstanding anything herein to the contrary, the entry of this Interim Order is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, the Debtors’, a

Committee’s (if appointed), or any party in interest’s right to oppose any of the relief requested in

accordance with the immediately preceding sentence except as expressly set forth in this Interim

Order. Entry of this Interim Order is without prejudice to any and all rights of any party in interest

with respect to the terms and approval of the Final Order and any other position which any party

in interest deems appropriate to raise in these Chapter 11 Cases or any Successor Cases.

               41.     No Waiver by Failure to Seek Relief. The failure of the DIP Lender to seek

relief or otherwise exercise its rights and remedies under this Interim Order, the DIP Documents,

or applicable law, as the case may be, shall not constitute a waiver of any of the rights hereunder,

thereunder, or otherwise of the DIP Lender.

               42.     Binding Effect of Interim Order. Immediately upon entry on the docket of

this Court, the terms and provisions of this Interim Order shall become binding upon the Debtors,

the DIP Lender, all other creditors of any of the Debtors, any Committee (if appointed), and all

other parties-in-interest and their respective successors and assigns, including any trustee or other

fiduciary hereafter appointed in any of the Chapter 11 Cases, any Successor Cases, or upon

dismissal of any Case or Successor Case.



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               43.     No Modification of Interim Order. Until and unless the DIP Obligations

have been indefeasibly paid in full in cash (such payment being without prejudice to any terms or

provisions contained in the DIP Agreement which survive such discharge by their terms), and all

commitments to extend credit under the DIP Facility have been terminated, the Debtors

irrevocably waive the right to seek and shall not seek or consent to, directly or indirectly, any

modification, stay, vacatur, or amendment to this Interim Order without the prior written consent

of the DIP Lender and no such consent shall be implied by any action or inaction of the

DIP Lender.

               44.     Discharge. The DIP Obligations shall not be discharged by the entry of an

order confirming any plan in any of the Chapter 11 Cases, notwithstanding the provisions of

section 1141(d) of the Bankruptcy Code, unless such obligations have been indefeasibly paid in

full in cash (other than contingent indemnification obligations for which no claim has been

asserted), on or before the effective date of such plan, or the DIP Lender has otherwise agreed in

writing. None of the Debtors shall propose or support any plan of reorganization or liquidation or

sale of a material portion of the Debtors’ assets, or order confirming such plan or approving such

sale, that, is not conditioned upon the indefeasible payment in full in cash of the DIP Obligations

(other than contingent indemnification obligations for which no claim has been asserted) promptly

(and in no event later than the effective date of such plan of reorganization or liquidation or sale)

and on terms acceptable to the DIP Lenders (a “Prohibited Plan or Sale”), without the written

consent of the DIP Lender. For the avoidance of doubt, the Debtors’ proposal or support of a

Prohibited Plan or Sale, or the entry of an order with respect thereto, shall constitute an Event of

Default hereunder and under the DIP Documents.




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               45.      Interim Order Controls. To the extent of any conflict between or among

(a) the express terms or provisions of any of the DIP Documents, the Motion, any other order of

this Court, other than the Final Order, (including, without limitation, any interim or final order

authorizing the Debtors’ continued use of their cash management system), or any other

agreements, on the one hand, and (b) the terms and provisions of this Interim Order, on the other

hand, unless such term or provision herein is phrased in terms of “defined in” or “as set forth in”

any of the DIP Documents, the terms and provisions of this Interim Order shall govern.

               46.     Survival. The provisions of this Interim Order and any actions taken

pursuant hereto shall survive entry of any order which may be entered: (a) confirming any plan of

reorganization or liquidation in any of the Chapter 11 Cases; (b) converting any of the Chapter 11

Cases to a case under chapter 7 of the Bankruptcy Code; (c) dismissing any of the Chapter 11

Cases or any Successor Cases; or (d) pursuant to which this Court abstains from hearing any of

the Chapter 11 Cases or any Successor Cases. The terms and provisions of this Interim Order shall

continue in the Chapter 11 Cases, in any Successor Cases, or following dismissal of the Chapter

11 Cases or any Successor Cases notwithstanding the entry of any orders described in clauses

(a)-(d) above, and all claims, liens, security interests, and other protections granted to the DIP

Lender pursuant to this Interim Order and/or the DIP Documents shall maintain their validity and

priority as provided by this Interim Order until all the DIP Obligations have been indefeasibly paid

in full in cash. The terms and provisions concerning the indemnification of the DIP Lender shall

continue in the Chapter 11 Cases, in any Successor Cases, following dismissal of the Chapter 11

Cases or any Successor Cases, following termination of the DIP Documents, and/or the

indefeasible repayment of the DIP Obligations.

               47.     Headings. Section headings used herein are for convenience only and are



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not to affect the construction of or to be taken into consideration in interpreting this Interim Order.

               48.      Final Hearing. The Final Hearing to consider entry of the Final Order and

final approval of the DIP Facility is scheduled for July 12, 2021, at 2:00 p.m. (CT) before the

Honorable David R. Jones, United States Bankruptcy Judge at the United States Bankruptcy Court

for the Southern District of Texas. The Debtors shall serve, by United States mail, first-class

postage prepaid, a copy of this Interim Order which shall serve as notice of the Final Hearing (the

“Final Hearing Notice”), together with a copy of the Motion, on: (a) the parties having been given

notice of the Interim Hearing; (b) any party which has filed prior to such date a request for notices

with this Court; (c) counsel for a Committee (if appointed); (d) the Securities and Exchange

Commission; and (e) the Internal Revenue Service. The Final Hearing Notice shall state that any

party in interest objecting to the entry of the proposed Final Order shall file written objections with

the Clerk of the Court no later than on July 7, 2021, at 4:00 p.m. (CT).

               49.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

enforce the terms of, any and all matters arising from or related to the DIP Facility, the DIP

Documents, and/or this Interim Order.




Dated:                          , 2021
      Houston, Texas

                                               UNITED STATES BANKRUPTCY JUDGE




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                            Schedule 1

                          DIP Agreement
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                                                                                          Execution Version



                                             KATERRA INC.

   SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION PROMISSORY NOTE



$35,000,000                                                                                     June 9, 2021

        Subject to the terms and conditions of this Senior Secured Super-Priority Debtor-in-Possession
Promissory Note (this “Note”), for value received, Katerra Inc., a Delaware corporation (the “Company”)
as debtor and debtor-in-possession, with chief executive offices at 2700 Post Oak Blvd Suite 2450 Houston,
TX 77056, hereby promises to pay to the order of SB Investment Advisers (UK) Limited, a UK private
limited company (in its capacity hereunder, including its registered assigns, the “Holder”), the principal
sum of Thirty-Five Million Dollars ($35,000,000) (such amount the “Aggregate Commitment”), or such
lesser amount as shall then equal the outstanding principal amount hereunder, together with interest accrued
on the unpaid principal amount at the Applicable Rate (as defined below) pursuant to Section 3.2.

         The following is a statement of the rights of Holder and the terms and conditions to which this Note
is subject, and to which the Holder hereof, by the acceptance of this Note, agrees.

         1.        DEFINITION. The following definitions shall apply for purposes of this Note.

         “Acceptable Plan” means, until the Balance has been indefeasibly repaid in full in cash, a Chapter
11 Plan that provides for the indefeasible repayment in full in cash of the Balance on the effective date
thereof and that is otherwise reasonably satisfactory to the Holder and the DIP Note Parties in their
reasonable discretion (as the same may be amended, supplemented, or modified from time to time after
filing thereof in accordance with the terms thereof).

        “Affiliate” has the meaning ascribed to it in Rule 144 promulgated under the Securities Act. For
the avoidance of doubt, SoftBank Vision Fund L.P., a limited partnership formed under the laws of Jersey,
SoftBank Group Corp. and all persons or entities controlling, controlled by or under common control with
either SoftBank Vision Fund L.P. or SoftBank Group Corp. are affiliates of each other. For the avoidance
of doubt, any entity managed by an affiliate of SoftBank Vision Fund L.P., SB Investment Advisors (UK)
Limited or SB Investment Advisors (US) Inc. shall be deemed an Affiliate of the Holder.

         “Acceptable Sale” means (x) a sale of the DIP Note Parties’ assets constituting a business unit, a
line of business, a business segment or project and (y) any other sale the Net Proceeds of which exceeds
$500,000, in each case, pursuant to Section 363 of the Bankruptcy Code or a Chapter 11 Plan, subject to
the following conditions: (i) (a) the Holder shall have reviewed and approved in writing in its reasonable
discretion any bid procedures and asset purchase agreement (including any asset purchase agreement with
a “stalking horse”) or (b) the sale order with respect to such sale shall provide for application of all Net
Proceeds of such sale to the indefeasible repayment in full in cash of the Balance upon consummation of
the sale in accordance with the terms herein, and (ii) the first such sale shall be consummated not later than
seventy (70) days following the Petition Date.

        “Applicable Rate” means a rate equal to the lower of: (a) the Highest Lawful Rate; and (b) 10.00%
per annum.

        “Approved Budget” means the budget in the form of Exhibit D and initially furnished to the Holder
on or prior to the Closing Date, as the same may be updated, modified or supplemented from time to time
as provided in Section 8 of Exhibit A hereto. The initial Approved Budget shall depict, on a cumulative




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and line item basis, forecasted (i) cash receipts of the DIP Note Parties (the “Cash Receipts”), (ii) cash
operating disbursements of the DIP Note Parties (the “Cash Operating Disbursements”), and (iii)
non-operating, bankruptcy-related cash disbursements of the DIP Note Parties, including all professional
and advisory fees, expenses and charges related to the Chapter 11 Cases (the “Cash Bankruptcy
Disbursements”), in each case for the first twelve (12) fiscal week period from the Petition Date, and such
initial Approved Budget shall be approved by the Holder in its reasonable discretion, which Approved
Budget may be modified, supplemented or restated by the DIP Note Parties with the written consent of the
Holder in its reasonable discretion and without further order of the Bankruptcy Court (it being
acknowledged and agreed that the initial Approved Budget attached hereto as Exhibit D is approved by the
Holder). Notwithstanding the foregoing, in no event will cash receipts or disbursements received or made
on account of or in connection with construction trust fund statutes, laws, requirements or similar
arrangements constitute Cash Receipts, Cash Operating Disbursements or Cash Bankruptcy Disbursements
for purposes of this definition.

         “Automatic Stay” means the automatic stay provided under Section 362 of the Bankruptcy Code.

        “Balance” means, at the applicable time, the sum of all then outstanding DIP Obligations
(excluding, in each case, any contingent amount for which no claim has been made or asserted).

         “Bankruptcy Code” shall mean Title 11, United States Code, as amended.

         “Bankruptcy Court” has the meaning given to such term in the definition of “Chapter 11 Cases”.

         “Borrowing Notice” means a notice of a borrowing of Loans, pursuant to Section 2.1(b), which, if
in writing, shall be substantially in the form of Exhibit E, or such other form as may be approved by the
Holder (including any form on an electronic platform or electronic transmission system as shall be approved
by the Holder), appropriately completed and signed by a responsible officer of the Company.

        “Business Day” means a weekday on which banks are open for general banking business in San
Carlos, California.

         “Capital Stock” means any and all shares, interests, participations or other equivalents (however
designated) of capital stock of a corporation, any and all equivalent ownership interests in a Person (other
than a corporation), including partnership interests and membership interests, and any and all warrants,
rights or options to purchase or other arrangements or rights to acquire any of the foregoing, but excluding
for the avoidance of doubt any indebtedness convertible into or exchangeable for any of the foregoing.

        “Carve-Out” has the meaning set forth in the Interim DIP Order (and Final DIP Order, when
applicable).

         “Case Milestones” means the milestones set forth on Exhibit C.

        “Cash Management Order” means the order of the Bankruptcy Court entered in the Chapter 11
Cases after the “first day” hearing on an interim basis, together with all extensions, modifications and
amendments thereto, in form and substance satisfactory to the Holder, which among other matters
authorizes the DIP Note Parties to maintain their existing cash management and treasury arrangements or
such other arrangements as shall be acceptable to the Holder in all material respects.

        “Chapter 11 Cases” mean the voluntary cases commenced by the DIP Note Parties in the United
States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”).




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        “Chapter 11 Plan” means a chapter 11 plan with respect to any or all of the DIP Note Parties and
their Subsidiaries pursuant to the Chapter 11 Cases.

         “Claim” means any (a) right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured; or (b) right to an equitable remedy for breach of performance if such breach gives
rise to a right to payment, whether or not such right to an equitable remedy is reduced to judgment, fixed,
contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

        “Closing Date” means the date on which all conditions set forth in Section 9 are satisfied; the
Closing Date occurred on June 9, 2021.

      “Collateral” means (a) any and all “Collateral” or words of similar intent as defined in the Security
Agreement and (b) the “DIP Collateral” referred to in the DIP Orders.

        “Company” shall include, in addition to the Company identified in the opening paragraph of this
Note, any corporation or other entity which succeeds to the Company’s DIP Obligations, whether by
permitted assignment, by merger or consolidation, operation of law or otherwise.

          “Company’s Financial Advisor” means Alvarez & Marsal.

          “Company’s Investment Banker” means Houlihan Lokey Capital, Inc.

         “Confirmation Order” means an order of the Bankruptcy Court entered in the Chapter 11 Cases
pursuant to section 1129 of the Bankruptcy Code, which order (x) shall confirm an Acceptable Plan, be a
final and non-appealable order and otherwise be in form and substance reasonably satisfactory to the
Holder, together with all extensions, modifications, supplements, and amendments thereto and (y) to the
extent the Balance has not yet otherwise been repaid, shall authorize and approve such repayment, any
financing the proceeds of which will be used to fund such repayment in full in cash, and the termination in
full of all outstanding commitments under this Note.

         “Debtor Relief Laws” shall mean the Bankruptcy Code, and all other liquidation, conservatorship,
bankruptcy, general assignment for the benefit of creditors, moratorium, rearrangement, receivership,
insolvency, reorganization or similar debtor relief laws of the U.S. or other applicable jurisdictions from
time to time in effect and affecting the rights of creditors generally.

        “Default” means any event set forth in Section 6 that is, or with the passage of time or the giving
of notice or both, in each case as set forth in such Section, would be, an Event of Default.

          “DIP Note Parties” means the Company and the Guarantors, and each individually, a “DIP Note
Party”.

        “DIP Obligations” shall mean all obligations of every nature of each DIP Note Party, including
obligations from time to time owed to Holder, in each case, that arise under any Financing Document,
whether for principal, interest (including interest which, but for the filing of a petition in bankruptcy with
respect to such DIP Note Party, would have accrued on any DIP Obligation, whether or not a claim is
allowed or allowable against such DIP Note Party for such interest in the related bankruptcy proceeding),
fees, expenses, indemnification or otherwise.




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        “DIP Order” means, as applicable, and as the context may require, the Interim DIP Order or the
Final DIP Order, whichever is then applicable, or the Interim DIP Order and the Final DIP Order as the
“DIP Orders”.

         “Disposition” means any sale, transfer, lease or other disposition (including any sale or issuance of
Capital Stock in a Subsidiary) of any property by any Person, including any sale, transfer or other
disposition, with or without recourse, of any notes or accounts receivable or any rights and claims associated
therewith. “Dispose” has the meaning correlative thereto.

         “Event of Default” has the meaning set forth in Section 6.

         “Final DIP Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter
11 Cases after a final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures as approved by
the Bankruptcy Court, which order shall be satisfactory in form and substance to the Holder and from which
no appeal or motion to reconsider has been timely filed, or if timely filed, such appeal or motion to
reconsider has been dismissed or denied with no further appeal and the time for filing such appeal has
passed (unless the Holder waives such requirement), together with all extensions, modifications, and
amendments thereto, which, among other matters but not by way of limitation, authorizes the DIP Note
Parties to obtain credit, incur (or guaranty) Indebtedness, and grant Liens under this Note and the other
Financing Documents, as the case may be, and provides for the super-priority of the Holder’s Claims.

        “Financing Document” means each of this Note, any Security Document, the DIP Orders and any
other document entered into, executed or delivered under or for the purpose of providing collateral.

         “First Day Orders” means all orders entered or to be entered by the Bankruptcy Court granting the
relief requested in the motions filed with the Bankruptcy Court on the Petition Date and heard by the
Bankruptcy Court at the initial hearing or thereafter and, except for the Cash Management Order, each of
which shall be reasonably acceptable to the Holder (for the avoidance of doubt, neither the Interim DIP
Order nor the Final DIP Order shall constitute a “First Day Order” for purposes of this definition).

        “Guarantors” shall mean, collectively, the Parent and each Subsidiary of the Parent from time to
time party to the Security Agreement, and each, a “Guarantor”.

         “Guaranty” shall mean the guaranty set forth the Security Agreement.

         “Highest Lawful Rate” means the maximum non-usurious rate of interest, as in effect from time
to time, which may be charged, contracted for, reserved, received or collected by Holder in connection with
this Note under applicable law.

         “Indebtedness” as applied to any Person means, without duplication:

                   (a)         all indebtedness for borrowed money;

                   (b)     that portion of obligations with respect to capital leases to the extent recorded as a
         liability on a balance sheet (excluding the footnotes thereto) of such Person prepared in accordance
         with GAAP;

                 (c)      all obligations of such Person evidenced by bonds, debentures, notes or similar
         instruments to the extent the same would appear as a liability on a balance sheet (excluding the
         footnotes thereto) of such Person prepared in accordance with GAAP;




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                  (d)     any obligation of such Person owed for all or any part of the deferred purchase
         price of property or services;

                  (e)     all Indebtedness of others described in clauses (a) through (d) and (f) through (h)
         secured by any Lien on any asset owned or held by such Person regardless of whether the
         Indebtedness secured thereby have been assumed by such Person or is non-recourse to the credit of
         such Person (provided that, if the Person has not assumed or otherwise become liable in respect of
         such indebtedness, such indebtedness shall be deemed to be in an amount equal to the lesser of (A)
         the fair market value of the property to which such Lien relates or (B) the aggregate unpaid amount
         thereof);

                (f)     the amount of any letter of credit issued for the account of such Person or as to
         which such Person is otherwise liable for reimbursement of drawings;

                   (g)         the guarantee by such Person of the Indebtedness of another; and

                (h)     all net obligations of such Person in respect of any derivative transaction, including
         any hedge agreement, whether or not entered into for hedging or speculative purposes.

         Notwithstanding the foregoing, Indebtedness shall not include (1) accrued expenses and deferred
tax and other credits incurred by any Person in accordance with customary practices and in the ordinary
course of business, (2) deferred compensation, (3) amounts owed pursuant to any contractual arrangement
with, and for services to be performed by, an original equipment manufacturer incurred in the ordinary
course of business, (4) liabilities associated with customer prepayments and deposits, in each case incurred
in the ordinary course of business, (5) obligations under operating leases entered into in the ordinary course
of business, (6) contingent post-closing purchase price adjustments or earn out obligations to the extent not
earned, due and payable, (7) trade payables or other accounts payable incurred in the ordinary course of
such Person’s business and (8) non-compete or consulting obligations.

        “Interim DIP Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter
11 Cases after an interim hearing (assuming satisfaction of the standard prescribed in Section 324 of the
Bankruptcy Code and Bankruptcy Rule 4001 and other applicable law), together with all extensions,
modifications, supplements and amendments thereto, in each case, in form and substance satisfactory to the
Holder, which, among other matters but not by way of limitation, authorizes, on an interim basis, the DIP
Note Parties to execute and perform under the terms of this Note and the other Financing Documents. The
Interim DIP Order is attached hereto as Exhibit F.

         “Interim Period Cap” means $25,000,000.

         “Investment” means (a) any purchase or other acquisition by any DIP Note Party of any of the
securities of any other Person (other than any DIP Note Party), (b) the acquisition by purchase or otherwise
(other than any purchase or other acquisition of inventory, materials, supplies and/or equipment in the
ordinary course of business) of all or a substantial portion of the business, property or fixed assets of any
other Person or any division or line of business or other business unit of any other Person and (c) any loan,
advance or capital contribution by any DIP Note Party to any other Person. The amount of any Investment
outstanding as of any time shall be the original cost of such Investment (which, in the case of any Investment
constituting the contribution of an asset or property, shall be based on the Company’s good faith estimate
of the fair market value of such asset or property at the time such Investment is made) plus the cost of all
additions thereto, without any adjustments for increases or decreases in value, or write-ups, write-downs or
write-offs with respect to such Investment, less all returns received by the Company or any Subsidiary in
respect thereof.



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         “Lien” shall mean any mortgage, deed of trust, pledge, hypothecation, collateral assignment, lien
(statutory or otherwise), preference, priority, charge or other encumbrance of any nature, whether voluntary
or involuntary, including the interest of any vendor or lessor under any conditional sale agreement, title
retention agreement, capital lease or any other lease or arrangement having substantially the same effect as
any of the foregoing.

        “Material Adverse Effect” means a material adverse effect (whether the result of occurrences,
events or circumstances involving the Company or any other DIP Note Party) on the business, assets
(including intangible assets), liabilities, financial condition, property or results of operations of the
Company and the other DIP Note Parties on a consolidated basis and taken as a whole, other than (i) the
effect of filing the Chapter 11 Cases, the events and conditions leading up to and resulting from the
commencement and continuation of the Chapter 11 Cases, the effects thereof and any action required to be
taken under the Financing Documents or the DIP Orders and the Chapter 11 Cases themselves and (ii) any
matters or transactions disclosed, contemplated or required to be taken in any First Day Order on a final
basis, motions related thereto or in any supporting declarations thereof.

         “Maturity Date” means the earlier of (a) the consummation of a sale of all or substantially all of
the assets of the DIP Note Parties; (b) acceleration of the Balance of this Note pursuant to this Note; (c) 35
days after entry of the Interim DIP Order (or such later date as the Holder in its sole discretion may agree
in writing with the Company) if the Final DIP Order has not been entered on or prior to the expiration of
such 35-day period; (d) the substantial consummation (as defined in Section 1101 of the Bankruptcy Code
and which for purposes hereof shall be no later than the “effective date” thereof) of a Chapter 11 Plan that
is confirmed pursuant to a final and non-appealable order entered by the Bankruptcy Court and (e) the
Scheduled Maturity Date.

         “Mortgaged Properties” has the meaning set forth in the Security Agreement.

         “Mortgages” has the meaning set forth in the Security Agreement.

         “Net Proceeds” means, with respect to any event, (a) the cash proceeds received in respect of such
event (either directly or through a distribution of such proceeds from a Subsidiary) including any cash
received in respect of any non-cash proceeds (including any cash payments received by way of deferred
payment of principal pursuant to a note or installment receivable or purchase price adjustment receivable
or otherwise, but excluding any interest payments), but only as and when received, minus (b) the sum of (i)
all reasonable fees and out-of-pocket expenses paid or payable to third parties (other than controlled
Affiliates) in connection with such event; provided, however, that such fees shall not include any Exempt
Professional Fees (as defined in the DIP Orders), (ii) in the case of a sale, transfer or other Disposition of
an asset (including pursuant to a sale and leaseback transaction or a casualty or a condemnation or similar
proceeding), the amount of all payments required to be made as a result of such event to repay Indebtedness
(other than the Loans) secured by such asset, (iii) any funded escrow established pursuant to the documents
evidencing any such sale or other Disposition to secure any indemnification obligations or adjustments to
the purchase price associated with any such sale or other Disposition, (iv) in the case of any Disposition by
a non-wholly-owned Subsidiary, the pro rata portion of the Net Proceeds thereof (calculated without regard
to this clause (iv)) attributable to minority interests and not available for distribution to or for the account
of the Company or a wholly-owned Subsidiary as a result thereof and (v) the amount of all taxes paid (or
reasonably estimated to be payable) and the amount of any reserves established to fund contingent liabilities
reasonably estimated to be payable, that are attributable to such event (as determined reasonably and in
good faith by a responsible officer of the Company in consultation with the Holder).

         “Note” has the meaning given to such term in the preliminary statements to this Note.




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         “Parent” means Katerra Inc., a Cayman company.

         “Permitted Debt” means any of the following:

         (i)       Indebtedness incurred pursuant to this Note and the other Financing Documents;

        (ii)    Indebtedness existing on the Closing Date and disclosed on Schedule 1 hereto or otherwise
constituting Permitted Investments;

         (iii)     [reserved];

         (iv)      [reserved];

         (v)       Indebtedness owed by a DIP Note Party to another DIP Note Party;

        (vi)   guarantees by a DIP Note Party in respect of Indebtedness of a DIP Note Party otherwise
permitted hereunder;

        (vii)    Indebtedness arising from customary cash management services, netting arrangements,
automated clearing house transfers, or the honoring by a bank or other financial institution of a check, draft
or similar instrument drawn against insufficient funds in the ordinary course of business, so long as such
Indebtedness is extinguished within ten (10) Business Days of its incurrence;

        (viii) Indebtedness with respect to performance bonds, bid bonds, surety bonds, construction
bonds, appeal bonds or customs bonds required in the ordinary course of business or completion guarantees
or in connection with the enforcement of rights or claims of the Company or any of its Subsidiaries or in
connection with judgments that do not result in an Event of Default;

        (ix)    Indebtedness owed to any Person providing property, casualty, liability, or other insurance
to a DIP Note Party or any of its Subsidiaries, so long as the amount of such Indebtedness is not in excess
of the amount of the unpaid cost of, and shall be incurred only to defer the cost of such insurance for the
period in which such Indebtedness is incurred;

        (x)     Indebtedness consisting of take-or-pay obligations contained in supply arrangements in the
ordinary course of business;

         (xi)     Indebtedness in respect of bank guarantees, supporting obligations, bankers’ acceptances,
performance bonds, surety bonds, statutory bonds, appeal bonds, warehouse receipts or similar instruments
issued or created in the ordinary course of business, including in respect of workers compensation claims,
health, disability or other employee benefits or property, casualty or liability insurance or self-insurance or
other Indebtedness with respect to reimbursement-type obligations regarding workers compensation claims;
provided that any reimbursement obligations in respect thereof are reimbursed within 45 days following
the due date thereof;

         (xii)     [reserved];

         (xiii)    other Indebtedness in an aggregate outstanding principal amount not to exceed $50,000;

         (xiv)     Indebtedness consisting of the financing of insurance premiums;

        (xv)     Indebtedness expressly permitted by the DIP Orders, First Day Orders or the Second Day
Orders, to the extent the Holder did not object to the applicable Second Day Order; and


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        (xvi) all premiums (if any), interest, fees, expenses, charges and additional or contingent interest
on obligations described above.

         “Permitted Dispositions” means any Disposition:

        (a)        of inventory, goods held for sale and other assets, in each case in the ordinary course of
business;

        (b)      of used, obsolete, damaged, worn-out or surplus equipment, or property no longer useful
in the conduct of the business or otherwise commercially desirable to maintain, whether now owned or
hereafter acquired, in the ordinary course of business;

         (c)       among the DIP Note Parties;

        (d)     in connection with the settlement or write-off of accounts receivable or sale of overdue
accounts receivable (including any discount or forgiveness thereof) for collection in the ordinary course of
business;

         (e)       of cash or cash equivalents in the ordinary course of business;

         (f)       as a result of eminent domain, casualty, foreclosure or condemnation of realty;

         (g)     in connection with the lease or sub-lease of any real or personal property in the ordinary
course of business and the termination or non-renewal of any real property lease not used or not necessary
to the operations of any DIP Note Party (other than the lease in respect of the Tracy Project);

         (h)       [reserved];

       (i)       from any Subsidiary that is not a DIP Note Party to any other Subsidiary that is not a DIP
Note Party or to a DIP Note Party;

         (j)       consisting of Permitted Investments, Permitted Debt or Permitted Encumbrances;

         (k)       that is an Acceptable Sale; and

        (l)      that is expressly permitted in the DIP Orders, the First Day Orders or the Second Day
Orders, to the extent the Holder did not object to the applicable Second Day Order.

         “Permitted Encumbrances” means the following Liens:

         (a)       Liens securing the DIP Obligations created pursuant to the Financing Documents;

         (b)       Liens existing on the Closing Date and disclosed on Schedule 2;

        (c)      Liens imposed by law, such as Liens of carriers, warehousemen, shippers, mechanics,
materialmen and landlords, and other similar Liens incurred in the ordinary course of business for sums not
constituting borrowed money that are not overdue for a period of more than 60 days or that are being
contested in good faith by appropriate proceedings and for which adequate reserves have been established
in accordance with GAAP (if so required) or that do not materially detract from the value of the applicable
property or assets;




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         (d)      Liens incurred in the ordinary course of business in connection with worker’s
compensation, unemployment insurance or other forms of governmental insurance or benefits, or and other
letters of credit and letter of credit rights, bids, tenders, statutory obligations, surety, surety and appeal
bonds, performance bonds, stay, customs and appeal bonds, trade contracts, leases, government contracts
and other similar obligations (in each case other than obligations for borrowed money);

         (e)     Liens for taxes, assessments or other governmental charges or statutory obligations that are
(i) not delinquent, (ii) remain payable without any penalty, (iii) are being contested in good faith appropriate
proceedings and for which adequate reserves exist in accordance with GAAP or (iv) the nonpayment of
which is permitted or required by the Bankruptcy Code;

        (f)      purported Liens evidenced by the filing of UCC financing statements in respect of
operating leases or consignment of goods;

        (g)       with respect to any real property occupied, owned or leased by any DIP Note Party, (i) all
easements, rights of way, covenants, licenses, agreements, declarations, restrictions, defects,
encroachments, licenses and similar minor encumbrances on title and (ii) leases, subleases, tenancies,
options, concession agreements, rental agreements occupancy agreements, franchise agreements, access
agreements and any other agreements, whether or not of record and whether now in existence or hereafter
entered into, of the real properties of such DIP Note Party granted by such Person to third parties, in each
case entered into in the ordinary course of such Person’s business and so long as, to the extent such real
properties are subject to Liens, such Liens;

        (h)     Liens arising by operation of law under Article 4 of the UCC in connection with collection
of items provided for therein or under Article 2 of the UCC in favor of a reclaiming seller of goods or buyer
of goods;

       (i)      rights of setoff or bankers’ liens of banks or other financial institutions where any DIP Note
Party maintain deposits in the ordinary course of business and which are within the general parameters
customary in the banking industry;

      (j)      Liens in favor of customs and revenues authorities or export/import brokers that secure
payment of duties and fees in connection with the importation and exportation of goods;

        (k)     the modification, refinancing, replacement, extension or renewal of any Permitted
Encumbrance; provided that such Lien shall at no time be extended to cover any assets or property other
than such assets or property subject thereto on the Closing Date or the date such asset was acquired, as
applicable;

        (l)      Liens of landlords under leases where any DIP Note Party is the tenant, securing
performance by the tenant under the lease arising by statute or under any lease or related contractual
obligation entered into in the ordinary course of business;

         (m)    (i) Liens that are customary contractual rights of setoff or netting relating to (A) the
establishment of depositary relations with banks not granted in connection with the issuance of
Indebtedness, (B) pooled deposit or sweep accounts of any DIP Note Party to permit satisfaction of
overdraft or similar obligations or to secure negative cash balances incurred in the ordinary course of
business of such DIP Note Party, (C) purchase orders and other agreements entered into with customers of
such DIP Note Party in the ordinary course of business and (D) commodity trading or other brokerage
accounts incurred in the ordinary course of business, (ii) Liens encumbering reasonable customary initial
deposits and margin deposits, (iii) bankers Liens and rights and remedies as to deposit accounts and (iv)



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Liens on the proceeds of any Indebtedness incurred in connection with any transaction permitted hereunder,
which proceeds have been deposited into an escrow account on customary terms to secure such
Indebtedness pending the application of proceeds to finance such transaction;

       (n)     Liens arising out of conditional sale, title retention, consignment, bailment or similar
arrangements for the purchase, sale or shipment of goods entered into in the ordinary course of business;

         (o)       [reserved];

         (p)       [reserved];

        (q)       Liens given to a utility or any municipality or governmental authority when required by
such utility or authority in connection with the operations of that Person in the ordinary course of business
or consistent with industry practice or as otherwise required by or contemplated by the First Day Orders or
Second Day Orders;

         (r)       [reserved];

         (s)      Liens securing any Indebtedness incurred under clause (xiv) of “Permitted Debt”; provided
that individual financings provided by one lender may be cross-collateralized to other financings provided
by such lender or its Affiliates;

      (t)     any Lien or other interest attaching to the Collateral as the result of entry into definitive
documentation with respect to an Acceptable Sale;

         (u)       Liens arising on account of funds held in escrow and constructive trust arrangements; and

        (v)      any Lien expressly permitted in the DIP Orders, the First Day Orders or the Second Day
Orders, to the extent the Holder did not object to the applicable Second Day Order.

         “Permitted Investments” means any of the following:

        (a)      acquisition and holding accounts receivables, notes receivable and other extensions of trade
credit owing to any of them, if created or acquired in the ordinary course of business;

         (b)       acquisition and holding cash and cash equivalents;

         (c)       [reserved];

        (d)      acquisitions and own Investments (including debt obligations) received in connection with
the bankruptcy or reorganization of suppliers and customers or in good faith settlement of delinquent
obligations of, and other disputes with, customers and suppliers arising in the ordinary course of business
or upon the foreclosure with regard to any secured Investment or other transfer of title with regard to a
secured Investment;

         (e)       Investments made by a DIP Note Party to or in another DIP Note Party;

      (f)     Investments consisting of Permitted Debt, Permitted Dispositions or Permitted
Encumbrances;

        (g)     contingent obligations to the extent not constituting Indebtedness, incurred in the ordinary
course of business, in each case to the extent constituting Investments;


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        (h)     promissory notes and other non-cash consideration received in connection with any asset
sale permitted hereby;

       (i)     Investments in deposit accounts, securities accounts and commodities accounts maintained
by a DIP Note Party;

         (j)     Investments in the ordinary course of business consisting of UCC Article 3 endorsements
for collection or deposit and UCC Article 4 customary trade arrangements with customers consistent with
past practices;

         (k)       [reserved]; and

        (l)     any Investments expressly permitted by or set forth in the then effective Approved Budget
the DIP Orders, the First Day Orders or the Second Day Orders, to the extent the Holder did not object to
the applicable Second Day Order.

         “Person” means an individual, corporation, limited liability company, partnership, association,
joint-stock company, trust, unincorporated organization, joint venture or other entity or any governmental
authority.

         “Petition Date” means the date on which the Chapter 11 Cases were commenced by the DIP Note
Parties, which date was June 6, 2021.

         “Prepetition” means the time period ending immediately prior to the filing of the Chapter 11 Cases.

       “Remedies Notice Period” has the meaning specified in the Interim DIP Order (or Final DIP Order,
when applicable).

         “Restricted Debt Payment” any voluntary prepayment in cash in respect of principal of or interest
on any indebtedness for borrowed money, including any sinking fund or similar deposit, on account of the
purchase, redemption, retirement, acquisition, cancellation or termination of any indebtedness for borrowed
money prior to the stated maturity thereof, in each case other than (i) with respect to this Note and (ii) with
respect to indebtedness for borrowed money owed by a DIP Note Party to another DIP Note Party.

         “Restricted Payment” means (a) any dividend or other distribution on account of any shares of any
class of the Capital Stock of the Parent; (b) any redemption, retirement, sinking fund or similar payment,
purchase or other acquisition for value of any shares of any class of the Capital Stock of the Parent and (c)
any payment made to retire, or to obtain the surrender of, any outstanding warrants, options or other rights
to acquire shares of any class of the Capital Stock of the Parent now or hereafter outstanding.

         “Scheduled Maturity Date” means August 23, 2021.

        “Second Day Orders” means orders of the Bankruptcy Court in substantially the form of the
respective First Day Orders (with only such modifications thereto as are reasonably necessary to convert
such First Day Orders to final orders and such other modification as are satisfactory in form and substance
to the Company and the Holder in their sole discretion (for the avoidance of doubt, neither the Interim DIP
Order nor the Final DIP Order shall constitute a “Second Day Order” for purposes of this definition).

         “Securities Act” means the Securities Act of 1933, as amended.




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        “Security Agreement” means that certain Security and Guaranty Agreement, dated as of the date
hereof, by and among the Company, the other DIP Note Parties from time to time party thereto and the
Holder, as the same may be amended, restated, amended and restated, supplemented or otherwise modified
from time to time.

        “Security Documents” shall mean the Security Agreement, and all other pledge or security
agreements, the Mortgages, if any, assignments or other similar agreements or instruments executed and
delivered by any DIP Note Party pursuant to any Financing Document.

         “Subsidiary” means, with respect to any Person, any corporation, association, limited liability
company or other business entity of which more than 50% of the outstanding voting Capital Stock is owned,
directly or indirectly, by, or, in the case of a partnership, the sole general partner or the managing partner
or the only general partners of which are, such Person and one or more Subsidiaries of such Person (or a
combination thereof). Unless otherwise specified, all references herein to a “Subsidiary” or to
“Subsidiaries” shall refer to a Subsidiary or Subsidiaries of the Parent.

         “Tracy Project” means the DIP Note Parties’ automated plant in Tracy, California.

        “Unauthorized Prepetition Obligations” means any Prepetition Claim the payment, satisfaction or
discharge of which, whether in whole or in part, in each case, is not permitted by, set forth in or otherwise
contemplated by the DIP Orders, the First Day Orders, the Second Day Orders or the Approved Budget.

         2.        COMMITMENT AND BORROWINGS.

                   2.1         The Borrowings.

                  (a)      Subject to the terms and conditions set forth herein, the Holder agrees to make
         loans to the Company denominated in United States Dollars (collectively, as drawn and outstanding,
         the “Loan” and each, individually, a “Loan”) on or after the Closing Date and prior to the Maturity
         Date in three drawings as follows: (i) one Loan in the principal amount of up to $15,000,000 upon
         the entry of the Interim DIP Order, (ii) one Loan in the principal amount of up to $10,000,000 after
         the Closing Date but prior to the entry in the Final DIP Order if prior to the borrowing of such Loan
         the DIP Note Parties shall have received, after the Petition Date, one or more indications of interest
         (“IOI”) from third-party bidders with respect to an Acceptable Sale (an “Acceptable Sale IOI”)(it
         being understood and agreed that such IOIs individually or in the aggregate shall be in respect of
         the material portion of the DIP Collateral but it is not required that the Net Proceeds of one or more
         of the sales subject to such IOIs has to be sufficient to repay the entire Balance of this Note in full
         in cash); provided that any IOI received prior to the Petition Date (unless re-affirmed or modified
         and re-affirmed after the Petition Date) shall not constitute an Acceptable Sale IOI and (iii) one
         Loan in the principal amount of up to $10,000,000 upon the entry of the Final DIP Order and subject
         to the Holder being satisfied with the form and substance of the Bankruptcy Court’s order
         approving the retention of the Company’s Investment Banker and the Company’s Financial
         Advisor; provided however that notwithstanding any other provision of this Note (i) the aggregate
         principal amount of all Loans made hereunder prior to the entry of the Final DIP Order shall not
         exceed the Interim Period Cap, (ii) each borrowing shall be in a minimum amount of $1,000,000
         (or less, if such lesser amount represents the remaining amount of the Interim Period Cap or the
         Aggregate Commitment, as applicable), (iii) each borrowing shall be in a minimum amount of
         $1,000,000 or a whole multiple of $100,000 in excess thereof (or less, if such lesser amount
         represents the remaining amount of the Interim Period Cap or the Aggregate Commitment, as
         applicable) and (iv) the aggregate principal amount of all Loans made hereunder shall not exceed,




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         in the aggregate (but excluding any capitalized interest), the Aggregate Commitment. Amounts
         borrowed under this Section 2.1 and repaid or prepaid may not be reborrowed.

                 (b)     Each borrowing of Loans shall be made upon the Company’s notice to the Holder,
         which may be given by a Borrowing Notice (which may be delivered electronically). Each such
         notice must be received by the Holder not later than 1:00 p.m. Pacific Standard Time, three (3) (or,
         in the case of the initial borrowing, one (1)) Business Days prior to the requested date of any
         borrowing of Loans. Each notice by the Company pursuant to this Section 2.1(b) must be
         appropriately completed and signed by a responsible officer of the Company. Each Borrowing
         Notice shall specify:

                               (i)     the requested date of the borrowing (which shall be a Business Day),

                               (ii)    the principal amount to be borrowed, and

                               (iii)   wire instructions of the account(s) to which funds are to be disbursed.

                 (c)     Upon satisfaction of the applicable conditions set forth in Section 9 for any
         borrowing, the Holder shall make the requested funds available to the Company by wire transfer
         of such funds, in each case in accordance with instructions provided by the Company to (and
         reasonably acceptable to) the Holder. Any payments under this Note that are made later than 5:00
         p.m. Pacific Standard Time, shall be deemed to have been made on the next succeeding Business
         Day (but the Holder may extend such deadline for purposes of computing interest and fees (but not
         beyond the end of such day) in its sole discretion whether or not such payments are in process).
         Except as otherwise expressly provided herein, if any payment to be made by the Company shall
         come due on a day other than a Business Day, payment shall be made on the next following
         Business Day, and such extension of time shall be reflected in computing interest or fees, as the
         case may be.

         3.        PAYMENT AT MATURITY DATE; INTEREST.

                 3.1     Payment at Maturity Date. The principal amount of this Note, all accrued and
unpaid interest and the remaining Balance of this Note shall be due and payable in full in cash on the
Maturity Date, without demand by Holder; provided, that, in the event the entire Balance of this Note except
for any capitalized interest as of the date thereof is indefeasibly paid in full in cash on or prior to the date
that is 60 days following the Petition Date, no such capitalized interest shall be payable in connection with
such repayment. Payment on this Note shall be made to the address of Holder of this Note in lawful money
of the United States.

                  3.2    Payment of Interest. Interest shall begin to accrue on the date of this Note, shall
continue to accrue on the outstanding principal amount of this Note until the entire Balance is paid in full
in cash, shall be computed based on the actual number of days elapsed and on a year of 365 days, and shall
paid monthly in arrears on the last Business Day of each month by adding an amount equal to such interest
to the principal amount of this Note outstanding at the time of such payment; provided, however, that to the
extent and from the time when any DIP Note Party enters into a DIP financing facility with any third party
without the repayment in full in cash of the entire Balance of this Note the interest on the outstanding
principal amount of this Note shall be payable monthly in arrears in cash on the last Business Day of each
month. Anything herein to the contrary notwithstanding, if during any period for which interest is computed
hereunder, the amount of interest computed on the basis provided for in this Note, together with all fees,
charges and other payments which are treated as interest under applicable law, as provided for herein or in
any other document executed in connection herewith, would exceed the amount of such interest computed



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on the basis of the Highest Lawful Rate, then the Company shall not be obligated to pay, and Holder shall
not be entitled to charge, collect, receive, reserve or take, interest in excess of the Highest Lawful Rate, and
during any such period the interest payable hereunder shall be computed on the basis of the Highest Lawful
Rate.

              3.3              Super-Priority Nature of DIP Obligations and Holder’s Liens; Payment of
DIP Obligations.

         (a)      The priority of the Holder’s Liens on the Collateral, claims and other interests shall be as
set forth in the Interim DIP Order and the Final DIP Order.

        (b)      Upon the maturity (whether by acceleration or otherwise) of any of the DIP Obligations,
the Holder shall be entitled to immediate payment of such DIP Obligations without further application to
or order of the Bankruptcy Court.

         (c)    The Holder shall have the right to credit bid up to and including the full amount of the DIP
Obligations then outstanding. Any such credit bid by the Holder may provide for the assignment of the
right to purchase the acquired assets to a newly formed acquisition entity controlled or managed by the
Holder or an Affiliate of the Holder.

                 3.4     Withholding Tax. The parties agree that all amounts payable under this Note
shall be paid without deduction or withholding for any tax, except as required by applicable law. Pursuant
to the exceptions provided in Treasury Regulation sections 1.1441-1(b)(4)(iv) and 1.1441-2(a)(3), the
parties acknowledge that no withholding or deduction to tax is currently expected in relation to this Note
for U.S. federal income tax purposes. To the extent a party making a payment under this Note determines
that any applicable law requires the deduction or withholding of tax from such payment, the party making
such payment shall provide prompt notice to the party receiving such payment and shall cooperate with
such receiving party to determine whether such receiving party is eligible for any reduction or exemption
from such deduction or withholding. To the extent that any amounts are deducted or withheld pursuant to
this Section 3.4 and paid over to the appropriate tax authority (to the extent required by applicable law),
such amounts will be treated for all purposes of this Note as having been paid to the receiving party in
respect of which such deduction and withholding was made.

         4.        PREPAYMENT.

                 (a)    The Company may pay any unpaid Balance of this Note before it becomes due,
         without premium or penalty, without the consent of Holder.

                  (b)      Subject to the priority of Liens and application of funds set forth in the DIP Orders
         with respect to the Disposition of any asset of any DIP Note Loan Party or any of its Subsidiaries
         or any casualty event or condemnation in respect of any asset of any DIP Note Party, in the event
         and on each occasion that any Net Proceeds are received by or on behalf of any DIP Note Party in
         respect of (i) any asset sale (including any Acceptable Sale (other than, for the avoidance of doubt,
         in respect of Dispositions set forth in clause (d) of the definition of “Permitted Disposition”)) or
         (ii) any single event or series of related events arising from (x) any loss, destruction or damage to
         the property of any DIP Note Party or (y) any condemnation, confiscation, requisition, seizure or
         taking thereof, in each case, resulting in any DIP Note Parties’ receipt of Net Proceeds, the
         Company shall, within three (3) Business Days of the date such Net Proceeds are received, prepay
         the Loans in an amount equal to 100% of such Net Proceeds (without a reduction in any unused
         Aggregate Commitment); provided that a prepayment of the DIP Obligations pursuant to this
         Section 4 shall only be required in the amount (if any) by which the Net Proceeds received by the



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         DIP Note Parties during the term of this Note exceed $500,000 in the aggregate. Any prepayments
         made pursuant to this Section 4 shall be made without premium or penalty of any kind.

         5.      APPLICATION OF PAYMENTS. All payments will be applied first to the repayment
of accrued fees and expenses reimbursable under this Note, then to accrued interest until all then outstanding
accrued interest has been paid in full, and then to the repayment of principal until all principal has been
paid in full.

       6.      EVENTS OF DEFAULT. Each of the following events shall constitute an “Event of
Default” hereunder:

                 (a)      The Company or any other DIP Note Party fails to pay (i) when and as required to
         be paid herein, any amount of principal of any Loan, or (ii) within three (3) Business Days after the
         same becomes due and payable, any interest on any Loan, or any fee due hereunder, any other
         amount payable hereunder or under any other Financing Document;

                 (b)     (i) other than as set forth in subclause (ii), below or any other provision of this
         Section 6, any DIP Note Party breaches any obligation to the Holder under any Financing
         Document, and does not cure such breach within five (5) Business Days after written notice thereof
         has been given by or on behalf of the Holder or (ii) any DIP Note Party shall fail to comply with
         Section 8(b) of Exhibit A;

                 (c)      Any representation, warranty or certification made by any DIP Note Party herein
         or in any other Financing Document shall prove to have been false or incorrect in any material
         respect on the date or dates as of which made;

                  (d)     At any time after the execution and delivery thereof (i) any Security Document to
         which any DIP Note Party is now or hereafter a party shall for any reason cease to be in full force
         and effect or cease to be effective to give the Holder a valid and perfected first priority security
         interest in and Lien upon the Collateral purported to be covered thereby, subject to no Liens other
         than Permitted Encumbrances, in each case unless by reason of (A) any act or failure to act on the
         part of the Holder (including the failure of the Holder to maintain possession of any Collateral
         actually delivered to it or the failure of the Holder to file UCC continuation statements), (B) a
         release of Collateral is pursuant to and in accordance with the terms thereof or (C) the occurrence
         of the Maturity Date or any other termination of such Security Document in accordance with the
         terms thereof; (ii) any DIP Note Party shall deny or disaffirm in writing such DIP Note Party’s
         obligations under the Guaranty (other than as a result of the discharge of such Guarantor in
         accordance with the terms thereof) or the Guaranty shall cease to be in full force and effect; or (iii)
         the DIP Obligations shall cease to constitute senior indebtedness under the subordination provisions
         of any documents or instruments evidencing any indebtedness for borrowed money or such
         subordination provision shall be invalidated or otherwise cease, for any reason, to be valid, binding
         and enforceable obligations of the parties thereto (other than as a result of a termination in
         accordance with its terms);

                 (e)     Except as a result of commencement of the Chapter 11 Cases or entry into this
         Note, unless the payment, acceleration and/or the exercise of remedies with respect to any such
         Indebtedness is stayed by the Bankruptcy Court or unless any of the following results from
         obligations with respect to which the Bankruptcy Court prohibits or does not permit any DIP Note
         Party from applicable compliance, the occurrence and continuance of any event of default under
         any other Indebtedness for borrowed money with a principal amount in excess of $250,000;




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                 (f)      except for any order of the Bankruptcy Court fixing the amount of any Claim in
         the Chapter 11 Cases, one or more final judgments for the payment of money in an aggregate
         amount in excess of $500,000 (to the extent not covered by independent third-party insurance as to
         which the insurer has been notified of such judgment and has not denied coverage) shall be rendered
         against the Company or any Subsidiary thereof, or any combination thereof, and the same shall
         remain undischarged for a period of sixty (60) consecutive days during which execution shall not
         be effectively stayed, or any action shall be legally taken by a judgment creditor to attach or levy
         upon any Collateral of the Company or any Subsidiary to enforce any such judgment, excluding,
         in each case, any judgment or action resulting in a sequestering of funds under constructive trust
         arrangements or the escrow of funds in favor of another third-party;

                 (g)      The DIP Note Parties fail to achieve the Case Milestones (other than as the result
         of any action or omission of the Holder), without a written waiver or other written modification
         agreed to by the Holder in its sole discretion;

                 (h)     any Person obtains an order under Section 506(c) of the Bankruptcy Code against
         the Holder or any of the Collateral;

                 (i)     (i) the entry of an order by the Bankruptcy Court terminating the exclusive right of
         any DIP Note Party to file a Chapter 11 Plan pursuant to Section 1121 of the Bankruptcy Code,
         without the prior written consent of the Holder or (ii) any DIP Note Parties’ exclusive right to file
         a Chapter 11 Plan expires;

                 (j)      Except as permitted by the Financing Documents or the applicable Order or
         contemplated by an Acceptable Plan, and other than with respect to the Carve-Out, any order by
         the Bankruptcy Court is entered granting any superpriority claim that is pari passu with or senior
         to those of the Holder or any Lien that is senior to or pari passu with the Liens securing the DIP
         Obligations, which claims(s) in the aggregate exceed a principal amount in excess of $250,000;

                 (k)     the DIP Note Parties or any of their Subsidiaries obtain court authorization to
         commence, or commence, join in, assist or otherwise participate as an adverse party in any suit or
         other proceeding against the Holder or its affiliates other than as permitted by the DIP Orders;

                  (l)      an order with respect to any of the Chapter 11 Cases shall be entered by the
         Bankruptcy Court (i) appointing a trustee under Section 1104, (ii) appointing an examiner with
         enlarged powers relating to the operation of the business (powers beyond those set forth in section
         1106(a)(3) and (4) of the Bankruptcy Code) under Section 1106(b) of the Bankruptcy Code or
         (iii) converting the Chapter 11 Cases to cases under Chapter 7 of the Bankruptcy Code;

                 (m)      the filing, or support or encouragement, by any of the DIP Note Parties of a Chapter
         11 Plan other than an Acceptable Plan or any order in any of the Chapter 11 Cases is entered by the
         Bankruptcy Court confirming or sanctioning a Chapter 11 Plan other than an Acceptable Plan;

                  (n)    any DIP Note Party shall file, or support or encourage, a motion seeking, or the
         Bankruptcy Court shall enter an order granting, relief from or modifying the Automatic Stay (other
         than in connection with any Acceptable Sale or in accordance with the Approved Budget) to permit
         actions that would have a Material Adverse Effect on the DIP Note Parties or their estates (taken
         as a whole);

                (o)    an order with respect to any of the Chapter 11 Cases shall be entered by the
         Bankruptcy Court (or a motion seeking such an order shall be filed) without the express prior



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         written consent of the Holder (i) to revoke, reverse, stay, modify, supplement or amend the DIP
         Orders in a manner adverse in any material respect to the Holder, (ii) to permit, unless otherwise
         contemplated by the DIP Orders, any administrative expense or any Claim (now existing or
         hereafter arising, of any kind or nature whatsoever) to have administrative priority equal or superior
         to the administrative priority of the DIP Note Parties’ Claims in respect of the DIP Obligations
         (other than the Carve-Out or as contemplated by an Acceptable Plan) or (iii) allowing a Challenge
         (as defined in the DIP Orders) to proceed;

                 (p)     any DIP Note Party files, or supports or encourages, any motion or application, or
         the Bankruptcy Court grants the motion or application of any other person, which seeks approval
         for or allowance of any claim, Lien, security interest ranking equal or senior in priority to the
         claims, Liens and security interests granted to the Holder under the DIP Orders or the Financing
         Documents or any such equal or prior claim, Lien, or security interest shall be established in any
         manner, except, in any case, as expressly permitted under the DIP Orders;

                 (q)       other than with respect to any Replacement DIP, the entry of an order by the
         Bankruptcy Court authorizing any DIP Note Party to obtain financing pursuant to Section 364 of
         the Bankruptcy Code from any person other than the Holder which is secured by liens of equal or
         greater priority than the liens securing the DIP Obligations;

                (r)      if any creditor of any DIP Note Party receives any adequate protection payment or
         any Lien is granted as adequate protection;

                 (s)    except as permitted by the First Day Orders or as otherwise agreed to by the Holder
         (including by approving a proposed Approved Budget), any DIP Note Party shall make any
         payments on account of any Unauthorized Prepetition Obligations;

                 (t)     the DIP Note Parties shall seek or shall support (whether by way of motion or other
         pleadings filed with the Bankruptcy Court or any other writing executed by the DIP Note Parties
         or by oral argument) any Challenge (as defined in the DIP Orders) or any motion to, (i) disallow or
         subordinate in whole or in part any of the obligations arising under this Note or any other Financing
         Document, including, without limitation, the DIP Obligations, (ii) disallow in whole or in part any
         of the Indebtedness owed by the Company under this Note, or (iii) challenge the validity,
         enforceability or priority of the Liens or security interests granted under any of the Financing
         Documents or in the DIP Orders in favor of the Holder;

                 (u)      noncompliance in any material respect by any DIP Note Party with the terms of
         one or both of the DIP Orders;

                 (v)      the Bankruptcy Court shall enter an order granting relief from the Automatic Stay
         to any creditor or party in interest to permit foreclosure (or the granting of a deed in lieu of
         foreclosure or the like) on any Collateral of the DIP Note Parties of fair market value exceeding
         $500,000 in aggregate from or permit other actions that would reasonably be expected to result in
         a Material Adverse Effect; or

                 (w)      the Bankruptcy Court enters an order in the Chapter 11 Cases avoiding or
         permitting recovery of any portion of the payments made on account of the DIP Obligations owing
         under this Note;

then, notwithstanding anything in Section 362 of the Bankruptcy Code, but subject to the Remedies Notice
Period and the DIP Orders, upon the occurrence and during the continuance of any Event of Default, all



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accrued but unpaid expenses, accrued but unpaid interest, all principal and the remaining Balance of this
Note shall become immediately due and payable upon written notice by or on behalf of the Holder to the
Company.

Upon the occurrence and during the continuance of any Event of Default, and, subject to the DIP Orders
and the Remedies Notice Period, the Automatic Stay shall be deemed automatically vacated solely as to the
Holder, without further action or order of the Bankruptcy Court, and the Holder shall be entitled to (A)
exercise all rights and remedies available to it under this Note, the other Financing Documents and
applicable law (including, without limitation, the right to direct any or all of the DIP Note Parties to sell or
otherwise Dispose of any or all of the Collateral) or (B) take any and all actions described in the DIP Orders,
including, without limitation, those actions specified in the DIP Orders after the occurrence of any Event
of Default.

         7.      REPRESENTATIONS AND WARRANTIES. In order to induce the original Holder to
enter into the Financing Documents and originally purchase this Note the Company hereby represents and
warrants to the Holder as of the Closing Date:

                7.1       Organization, Good Standing and Qualification. Each DIP Note Party has been
duly incorporated and organized and is validly existing in good standing under the laws of the applicable
jurisdiction. Each Note Company has the corporate, limited liability company, or other equivalent, as
applicable, power and authority to, subject to the entry (and the terms) of the Interim DIP Order (and Final
DIP Order, when applicable), own and operate its properties and assets and to carry on its business as
currently conducted and as presently proposed to be conducted. Each DIP Note Party is duly qualified to
transact business and is in good standing in each jurisdiction in which the failure to so qualify would have
a Material Adverse Effect.

                  7.2      Due Authorization. Subject to entry of the Interim DIP Order (and Final DIP
Order, when applicable), all corporate, limited liability company, or equivalent, as applicable, action on the
part of board of directors, shareholders, member, manager or other governing body, as applicable,
necessary for the authorization, execution, delivery of, and the performance of all obligations of each
Company under, the Financing Documents has been taken or will be taken prior to the Closing Date.
Subject to entry (and the terms) of the Interim DIP Order (and Final DIP Order, when applicable), this Note
constitutes, and the other Financing Documents to which such DIP Note Party is a party, when executed
and delivered by such DIP Note Party, will constitute, valid and legally binding obligations of such DIP
Note Party, enforceable against such DIP Note Party in accordance with their respective terms or as
disclosed to the Holder on or prior to the date hereof, except as may be limited by (a) applicable Debtor
Relief Laws and (b) the effect of rules of law governing the availability of equitable remedies. Except for
the entry of, and pursuant to the terms of, the Interim DIP Order (and Final DIP Order, when and as
applicable), no material consent, approval, order or authorization of, or registration, qualification,
designation, declaration or filing with, any United States federal, state or local governmental authority or
other foreign governmental authority is required on the part of such DIP Note Party in connection with the
consummation of the transactions contemplated by this Note and the other Financing Documents, except
for (i) filings required by applicable foreign or United States securities laws, rules or regulations, (ii) the
approvals, consents, exemptions, authorizations, actions, notices and filings that have been duly obtained,
taken, given or made and are in full force and effect and (iii) such other post-closing filings as may be
required. Except as otherwise resulting from, related to or in connection with the commencement of the
Chapter 11 Cases, no DIP Note Party is in violation or default (i) of any provisions of its organizational or
governing documents, (ii) of any instrument, judgment, order, writ or decree, (iii) under any note, credit
agreement, indenture, mortgage or other agreement with respect to indebtedness for borrowed money, or
(iv) to its knowledge, of any provision of United States federal or state statute, rule or regulation or other
foreign statute, rule or regulation applicable to the Company, in each case the violation of which or default



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under would have a Material Adverse Effect. Subject to entry of the Interim DIP Order (and Final DIP
Order, when applicable), the execution, delivery and performance of the Note Documents and the
consummation of the transactions contemplated by the Note Documents will not result in any such violation
or be in conflict with or constitute, with or without the passage of time and giving of notice, either (i) a
default under any such provision, instrument, judgment, order, writ, decree, contract or agreement; or (ii)
an event which results in the creation of any lien, charge or encumbrance upon any assets of the DIP Note
Parties or the suspension, revocation, forfeiture, or nonrenewal of any material permit or license applicable
to any DIP Note Party, in each case the violation of, default under or conflict with which would have a
Material Adverse Effect.

                  7.3     Corporate Power. Each DIP Note Party has the corporate, limited liability, or
equivalent, as applicable, power and authority to execute and deliver the Financing Documents to which it
is a signatory, to carry out and perform all its obligations under the Financing Documents and, in the case
of the Company, to make the borrowing hereunder.

                   7.4         Security Documents.

        (a)     Subject to the entry of the Interim DIP Order (and, when entered, the Final DIP Order) and
subject to the Carve-Out in all respects, the Security Agreement and the Interim DIP Order (and, when
entered, the Final DIP Order) are effective to create in favor of the Holder legal, valid, enforceable and
perfected Liens on the Collateral described therein (with such priority as provided for therein), in each case,
under applicable United States federal, state or local governmental law.

         (b)     Except for the entry of the Interim DIP Order (and Final DIP Order, when applicable), no
filing or other action will be necessary to perfect such Liens under Section 7.4(a), in each case, under
applicable United States federal, state or local governmental law.

                 7.5    No MAE. Since the Petition Date, there has been no event or circumstance, either
individually or in the aggregate, that has or would reasonably be expected to have a Material Adverse
Effect.

                   7.6         Chapter 11 Cases.

         (a)      The Chapter 11 Cases were commenced on the Petition Date in each case in accordance in
all material respects with applicable laws and proper notice thereof was given for (i) the motion seeking
approval of the Financing Documents and the Interim DIP Order and the Final DIP Order, and (ii) the
hearing for the entry of the Interim DIP Order. The DIP Note Parties shall give, on a timely basis as
specified in the Interim DIP Order or the Final DIP Order, as applicable, all notices required to be given to
all parties specified in such orders, as applicable.

         (b)      After the entry of the Interim DIP Order, and pursuant to (and to the extent permitted) in
the Interim DIP Order and the Final DIP Order, the DIP Obligations will constitute allowed administrative
expense claims in the Chapter 11 Cases having priority over all administrative expense claims and
unsecured claims against the DIP Note Parties now existing or hereafter arising, of any kind whatsoever,
including all administrative expense claims of the kind specified in Sections 105, 326, 330, 331, 503(b),
506(c), 507(a), 507(b), 546(c), 726, 1114 or any other provision of the Bankruptcy Code or otherwise, as
provided under Section 364(c)(l) of the Bankruptcy Code, subject to (i) the Carve-Out and (ii) the priorities
set forth in the Interim DIP Order or Final DIP Order, as applicable.

        (c)    After the entry of the Interim DIP Order and pursuant to and to the extent provided in the
Interim DIP Order and the Final DIP Order, the DIP Obligations will be secured by a valid and perfected



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first priority Lien on all of the Collateral subject, as to priority, only to (i) the Carve-Out, (ii) Permitted
Encumbrances and (iii) to the extent set forth in the Interim DIP Order or the Final DIP Order.

        (d)       Notwithstanding the provisions of Section 362 of the Bankruptcy Code, and subject to the
applicable provisions of the Final DIP Order, as the case may be, upon the Maturity Date (whether by
acceleration or otherwise) of any of the DIP Obligations, the Holder shall, subject to the Remedies Notice
Period, be entitled to immediate payment of such DIP Obligations and to enforce the remedies provided for
hereunder or under applicable laws, without further notice, motion or application to, hearing before, or
order from, the Bankruptcy Court.

         8.        GENERAL PROVISIONS.

                8.1     Waivers. The Company and all endorsers of this Note hereby waive notice,
presentment, protest and notice of dishonor.

                8.2     Fees and Expenses. Upon the Maturity Date, the Company shall pay all
reasonable out-of-pocket expenses incurred by Holder, including the fees, charges and disbursements of
one primary counsel to the Holder (including Weil, Gotshal & Manges LLP), one local counsel to the
Holder in each relevant jurisdiction and any other third party advisor consented to by the Company (such
consent not to be unreasonably denied, withheld or delayed), in connection with the Chapter 11 Cases, this
Note (and any amendments, modifications or waivers hereof or thereof), the enforcement of rights in
connection with this Note and the administration of this Note.

                 8.3      Indemnity. The Holder (and its officers, directors, employees, advisors and
agents) (each such person, an “Indemnitee”) will have no liability for, and will be indemnified and held
harmless against, any actual losses, claims, damages, liabilities or expenses (in the case of (i) legal fees and
expenses, limited to reasonable and documented fees and out-of-pocket expenses of one primary counsel
for all such Indemnitees taken as a whole, which, in each case, shall exclude allocated costs of in-house
counsel and (ii) any other advisor or consultant, solely to the extent the Company has consented to the
retention of such person) incurred or arising out of, in connection with, or as a result of, this Note, any other
Financing Document, any Loan, the use of the proceeds thereof or the financing contemplated by this Note
and other Financing Documents, except to the extent they are found by a final, non-appealable judgment of
a court of competent jurisdiction to arise from the gross negligence, bad faith, material breach by the Holder
of its funding obligations hereunder or willful misconduct of the relevant Indemnitee. Such indemnity shall
not be available to the extent arising out of any actual loss, claim, damage, liability or expense that does
not involve an act or omission of the DIP Note Parties and that is brought by an Indemnitee against another
Indemnitee (other than claims against an Indemnitee in its capacity or in fulfilling its role as Holder or any
similar role under the Financing Documents). To the fullest extent permitted by applicable law, no party
hereto shall assert, and each hereby waives, any claim against any DIP Note Party or any Indemnitee, on
any theory of liability, for special, indirect, consequential or punitive damages (as opposed to direct or
actual damages) arising out of, in connection with, or as a result of, this Note, any other Financing
Document, any Loan, the use of the proceeds thereof or the financing contemplated by this Note and other
Financing Documents; provided that such waiver shall not limit any DIP Note Party’s reimbursement or
indemnification obligations under Sections 8.2 or 8.3, respectively.

                 8.4      Transfer. No party hereto may assign or otherwise transfer its rights or
obligations hereunder except with the prior written consent of the other parties hereto (in each case in such
party’s sole discretion); provided, that the Holder shall be permitted to assign to any Affiliate of the Holder
without the consent of any DIP Note Party. Subject to the foregoing, the rights and obligations of the
Company and Holder under this Note and the other Financing Documents shall be binding upon and benefit
their respective permitted successors, assigns, heirs, administrators and transferees.



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                 8.5      Governing Law. Except to the extent governed by the Bankruptcy Code, this
Note shall be governed by and construed under the laws of the State of New York, without giving effect to
principles of conflicts of laws.

                 8.6     Headings. The headings and captions used in this Note are used only for
convenience and are not to be considered in construing or interpreting this Note. All references in this Note
to sections and exhibits shall, unless otherwise provided, refer to sections hereof and exhibits attached
hereto, all of which exhibits are incorporated herein by this reference.

                   8.7     Notices. Unless otherwise provided herein, any notice required or permitted under
this Note shall be given in writing and shall be deemed effectively given (a) at the time of personal delivery,
if delivery is in person; (b) one (1) Business Day after deposit with an express overnight courier for United
States deliveries, or three (3) Business Days after deposit with an international express overnight air courier
for deliveries outside of the United States, in each case with proof of delivery from the courier requested;
or (c) four (4) Business Days after deposit in the United States mail by certified mail (return receipt
requested) for United States deliveries, when addressed to the party to be notified at the address indicated
for such party on Exhibit B hereto, or at such other address as any party hereto may designate for itself to
receive notices by giving ten (10) days’ advance written notice to all other parties in accordance with the
provisions of this Section 8.7.

               8.8     Amendments and Waivers. This Note may only be amended and provisions may
only be waived by the Holder and the Company.

                8.9      Severability. If one or more provisions of this Note are held to be unenforceable
under applicable law, then such provision(s) shall be excluded from this Note to the extent they are held to
be unenforceable and the remainder of the Note shall be interpreted as if such provision(s) were so excluded
and shall be enforceable in accordance with its terms.

                 8.10     Counterparts. This Note may be executed in two (2) or more counterparts, each
of which shall be deemed an original, but all of which together shall constitute one and the same instrument.
Counterparts may be delivered via facsimile, electronic mail (including pdf or any electronic signature
complying with the U.S. federal ESIGN Act of 2000, e.g., www.docusign.com) or other transmission
method and any counterpart so delivered shall be deemed to have been duly and validly delivered and be
valid and effective for all purposes.

         9.        CONDITIONS.

                 9.1      The Holder’s purchase of this Note, the effectiveness of the terms hereunder and
the Holder’s making available any Loan to the Company on the Closing Date, in each case, is subject to the
satisfaction (or written waiver by the Holder) of the following conditions precedent:

                 (a)      each of the representations and warranties of the DIP Note Parties contained in
         Section 7 shall be true and complete in all material respects on and as of the Closing Date with the
         same effect as though such representations and warranties had been made on and as of the Closing
         Date (or if made as of an earlier specified date, in all material respects as of such date);

                 (b)     the Company shall have performed and complied with all agreements, obligations,
         covenants and conditions contained in this Note and the other Financing Documents that are
         required to be performed or complied with by it on or before the Closing and shall have obtained
         all approvals, consents and qualifications necessary to consummate the transactions described
         herein;



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                   (c)         the Holder shall have received the following, each dated as of the Closing Date:

                               (i)     a counterpart signed by the Company of this Note; and

                           (ii)     from each DIP Note Party, a counterpart signed by such DIP Note Party
                   to the Security Agreement;

                  (d)     Subject to the Interim DIP Order, the Holder shall have been granted a perfected
         Lien on the Collateral by the Interim DIP Order on the terms and conditions set forth herein and in
         the other Financing Documents, with the priority set forth in the Interim DIP Order (and, upon
         entry of the Final DIP Order, the Final DIP Order) and the terms thereof;

                  (e)     each UCC financing statement and each document required by any Security
         Document or any applicable Requirements of Law to be filed, registered or recorded in order to
         create in favor the Holder, for the benefit of the Secured Parties, a perfected first priority Lien
         (subject to Permitted Encumbrances) on the Collateral required to be delivered pursuant to each
         Security Document, shall be in proper form for filing, registration or recording;

                 (f)      (i) The Bankruptcy Court shall have entered the Interim DIP Order by no later than
         two (2) Business Days after the Petition Date and (ii) all motions, orders (including any “first day”
         orders on an interim basis and the Cash Management Order) and other documents shall be in form
         and substance reasonably satisfactory to the Holder and the Bankruptcy Court shall have approved
         and entered all “first day” orders on an interim basis, including, without limitation, the Cash
         Management Order and all such orders shall not have been vacated, stayed, reversed, modified or
         amended in any manner materially adverse to the Holder without the Holder’s consent and shall
         otherwise be in full force and effect;

                 (g)      The Holder shall have received (i) the initial Approved Budget and (ii) the DIP
         Note Parties’ asset sale plan (the “Asset Sale Plan”), in each case in form and substance acceptable
         to Holder;

                (h)    The Holder shall have received (i) a copy of a fully executed engagement letter of
         the Company’s Investment Banker and (ii) a copy of a fully executed engagement letter of the
         Company’s Financial Advisor, in each case in form and substance acceptable to the Holder;

                (i)     The Holder shall have received the Borrowing Notice with respect to the Loan to
         be made on the Closing Date;

                 (j)     At the time of and immediately after giving effect to the Loan made on the Closing
         Date, no Default or Event of Default shall have occurred and be continuing; and

                  (k)    the Company shall have paid all reasonable out-of-pocket costs and expenses of
         the Holder to the extent invoiced on or prior to the Closing Date, which amounts may be offset
         against the proceeds of the Loans.

                 9.2     The obligation of the Holder to make available to the Company any Loan after the
Closing Date is subject to receipt of the Borrowing Notice therefor in accordance herewith and to the
satisfaction (or waiver by the Holder) of the following conditions:

                 (a)      each of the representations and warranties of the DIP Note Parties contained in
         Section 7 shall be true and complete in all material respects on and as of, and after giving effect to,



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         the funding of the applicable Loans to the same extent as though made on and as of that date (or if
         made as of an earlier specified date, in all material respects as of such date);

                (b)      At the time of and immediately after giving effect to such Borrowing, no Default
         or Event of Default shall have occurred and be continuing; and

                 (c)     (i) The Final DIP Order shall have been entered following the expiration of the
         Interim DIP Order; and (ii) the Interim DIP Order or the Final DIP Order, as applicable, shall not
         have been vacated, stayed, reversed, modified, or amended in any manner materially adverse to the
         Holder without the Holder’s consent and shall otherwise be in full force and effect.

         10.    COVENANTS. Until the earlier of the Maturity Date or the date on which all DIP
Obligations (other than contingent obligations not due and payable) have been paid and satisfied in full in
accordance with the terms hereof, each DIP Note Party promises and agrees to comply with the covenants
set forth on Exhibit A hereto.




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         IN WITNESS WHEREOF, the Company has caused this Note to be signed in its name as of the
date first written above.

                                                        THE COMPANY

                                                        KATERRA INC.



                                                        By:

                                                        Name:

                                                        Title:



AGREED AND ACKNOWLEDGED:

HOLDER

SB INVESTMENT ADVISERS (UK) LIMITED



By:

Name:

Title:




                               [Signature Page to Secured Promissory Note]
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                                                  Exhibit A

                                                 Covenants

         1.      Corporate Existence. Subject to the DIP Orders and the terms thereof and any required
approval by the Bankruptcy Court, each DIP Note Party will comply in all material respects with all material
applicable laws, rules, regulations and orders and preserve and maintain its corporate existence, rights,
franchises, qualifications, and privileges to the extent that the failure to do so would reasonably be expected
to have a Material Adverse Effect; provided that the foregoing shall not prohibit any merger, consolidation,
liquidation or dissolution of any DIP Note Party into another DIP Note Party to the extent approved by the
Bankruptcy Court.

        2.      Sales and Liens. After the Closing Date, no DIP Note Party will sell, assign (by operation
of law or otherwise) or otherwise Dispose of, or create or suffer to exist any Lien upon or with respect to,
any assets except Permitted Dispositions, the security interests in favor of Holder and Permitted
Encumbrances.

       3.     Indebtedness and Investments. After the Closing Date, no DIP Note Party will (a) incur
any Indebtedness (other than Permitted Debt) or (b) make any Investments (other than Permitted
Investments).

       4.       Restricted Payments and Restricted Debt Payments. After the Closing Date, no DIP Note
Party will (a) make any Restricted Payments, (b) make any Restricted Debt Payments or (c) make any
payments on account of any Unauthorized Prepetition Obligations.

         5.        Audits and Visits; Reports by Independent Consultant.

                  5.1      Each DIP Note Party will, at any time and from time to time during regular
business hours as reasonably requested by Holder, permit Holder, or its agents or representatives, upon
reasonable notice, (i) on a confidential basis, to examine and make copies of and abstracts from all books,
records and documents (including, without limitation, computer tapes and disks) in its possession or under
its control relating to the assets of such DIP Note Party and (ii) to visit its offices and properties for the
purpose of examining and auditing such materials described in clause (i) above, and to discuss matters
relating to the assets of the DIP Note Parties or its performance hereunder or under the related contracts
with any of its officers or employees having knowledge of such matters; provided that the DIP Note Parties,
taken as a whole, shall not, unless an Event of Default or Material Adverse Effect shall have occurred and
remain continuing hereunder (in which case no such limit shall apply), be responsible for the costs and
expenses of more than one such examination or visit during the term of this Note; provided, further that
such requested information (i) does not constitute non-financial trade secrets or non-financial proprietary
information, (ii) in respect of which disclosure to the Holder (or its representatives or contractors) is not
prohibited by Law or any binding agreement with any third party and (iii) is not subject to attorney-client
or similar privilege and does not constitute attorney work product.

         6.        Reporting Requirements. The Company will provide to the Holder the following:

                  6.1      within 45 days after the end of each quarter of each fiscal year of the Company, an
unaudited financial report of the Company containing a consolidated statement of assets, liabilities, and
capital, consolidated statements of operations, and a consolidated income statement, in each case as of the
last day of or for the period then ended;

               6.2       within 30 days after the end of each month of each fiscal year of the Company, an
unaudited financial report of the Company containing a consolidated statement of assets, liabilities, and




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capital, consolidated statements of operations, and a consolidated income statement, in each case as of the
last day of or for the period then ended;

              6.3     within four (4) Business Days after the end of each week of each fiscal month of
the Company, consolidated statements of cash flow as of the last day of the previous week;

                6.4     commencing on June 18, 2021 and on the last Business Day of each subsequent
fiscal two-week period of the Company, the updated Asset Sale Plan;

                6.5    The DIP Note Parties shall host a weekly conference call for the Holder to discuss
the Variance Report. The DIP Note Parties will hold such conference call not later than five (5) Business
Days from the time the DIP Note Parties have delivered the Variance Report.

                 6.6      The DIP Note Parties shall cause the Company’s Investment Banker, to provide
the Holder with weekly report (which, at the option of the Company, may be communicated via conference
call or e-mail) on the status of (i) Acceptable Sales and other monetization of the DIP Note Parties’ assets
and (ii) the DIP Note Parties’ efforts with respect to the refinancing of this Note;

                 6.7     by no later than 5:00 p.m. Pacific Standard Time on June 30, 2021 (or such later
time as agreed to in writing (including via e-mail) by the Holder in its reasonable discretion), and by no
later than 5:00 p.m. Pacific Standard Time by the end of each fiscal month occurring thereafter an updated
budget substantially consistent with the form and level of detail set forth in the initial Approved Budget,
including the same line-items provided with the initial Approved Budget. Upon, and subject to, the
approval of any such updated budget by the Holder, such supplemented budget shall constitute the
then-approved Approved Budget, effective as of the beginning of the fiscal week immediately following
the fiscal week in which it was delivered; provided that unless and until the Holder approves such
supplemental budget, the then-current Approved Budget shall remain in effect;

                 6.8     as soon as possible after any responsible officer of the Company acquiring direct
knowledge of the occurrence thereof (and in any event within five (5) Business Days after such responsible
officer directly acquires such knowledge), written notice of any Event of Default or any matter that has
resulted in a Material Adverse Effect;

        7.     Taxes. Subject to the DIP Orders and the terms thereof and any required approval by the
Bankruptcy Court, each DIP Note Party will pay any and all material taxes relating to the transactions
contemplated under this Note; except for those taxes that such Person is contesting in good faith and for
which adequate reserves have been taken or which taxes the nonpayment of which is permitted or required
by the Bankruptcy Code.

         8.        Budget Covenant.

                 (a)       By no later than 5:00 p.m. Pacific Standard Time on the fourth (4th) Business Day
         following the end of each fiscal week (or such later time as agreed to in writing (including via
         e-mail) by the Holder in its reasonable discretion) commencing on the date that is the last Business
         Day following the second (2nd) full fiscal week after the Petition Date (which date is June 25,
         2021), the DIP Note Parties shall provide the Holder with rolling two-week variance reporting for
         Cash Receipts, and Cash Operating Disbursements and Cash Bankruptcy Disbursements, which
         reporting shall (i) reasonably detail the material variance, if any, of Cash Receipts, Cash Operating
         Disbursements and Cash Bankruptcy Disbursements from the Approved Budget and (ii) provide
         an explanation of any material per item variance (the “Variance Report”).




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                  (b)       Commencing at the end of the second (2nd) full fiscal week following the Petition
         Date and as at the end of each fiscal week thereafter (each such date on which the DIP Note Parties’
         compliance with the Approved Budget is tested, a “Testing Date”), as of any applicable Testing
         Date, (i) the rolling two-week Cash Operating Disbursements as of such Testing Date shall not vary
         from the Approved Budget by more than 10% and (ii) the rolling two-week Cash Bankruptcy
         Disbursements as of such Testing Date shall not vary from the Approved Budget by more than 20%
         with respect to the first two Testing Periods and 15% with respect to any subsequent Testing Period
         (such percentage in clauses (i) and (ii) above, the “Permitted Variance”).

                 (c)    For purposes of Section 8(b), the DIP Note Parties shall be deemed to be in
         compliance with the Approved Budget for all purposes under this Note, the Financing Documents
         and the DIP Orders unless, as of any applicable date of determination, the DIP Note Parties’ Cash
         Operating Disbursements on a rolling two-week basis for such Testing Date vary from the
         Approved Budget by more than the Permitted Variance as measured on any Testing Date.

         9.      Use of Proceeds. The Company shall use the proceeds of the Loans to finance, in each
case consistent in all material respects with the Approved Budget (subject to Permitted Variances): (i)
working capital, letters of credit, surety and performance bonds, and general corporate purposes of the DIP
Note Parties, including capital expenditures and Permitted Investments, (ii) the negotiation, documentation,
pursuit and/or consummation of an Acceptable Sale, (iii) costs, fees, expenses and charges, in each case,
related to, arising out of or in connection with the Chapter 11 Cases, subject to the Carve-Out, and
(iv) certain other prepetition and pre-filing expenses that are approved by the Bankruptcy Court and
permitted by the Approved Budget.

         10.     Further Instruments. Each DIP Note Party will, at its expense, promptly execute and
deliver all further instruments and documents, and take all further action that the Holder may reasonably
request, from time to time, in order to perfect, protect or more fully evidence the full and complete
ownership and security interest in the Collateral, or to enable the Holder to exercise or, subject to the
following sentence, enforce the rights of the Holder hereunder or under any Collateral, in each case subject
to the terms and conditions of this Note.

        11.     DIP Refinancing. The Company shall, and shall cause other DIP Note Parties to, use its
reasonable best efforts to refinance this Note or otherwise repay all DIP Obligations in full in cash with the
proceeds of one or more debtor-in-possession financings (the “Replacement DIP”) or Dispositions prior to
the Scheduled Maturity Date.

         12.     Employee Related Payments. After the Closing Date, without the prior written consent of
the Holder (including by approving a proposed Approved Budget, to the extent specifically identified
therein), no DIP Note Party will enter into any new agreement to make or will make any WARN, severance,
bonus, retention, incentive or any other payments to their respective employees except for (i) retention
payments contemplated in the Approved Budget filed with the DIP Motion and (ii) payments in the ordinary
course of business.

         13.      Bankruptcy-Related Matters. The Company shall, and shall cause other DIP Note Parties
to, provide (i) no later than the later of (x) three (3) days in advance of filing with the Bankruptcy Court or
(y) or as soon as reasonably practicable in advance of filing thereof, draft copies of all material motions,
applications, proposed orders and pleadings related to the Chapter 11 Cases and/or any asset sale (including
any Acceptable Sale), the Chapter 11 Plan and the Disclosure Statement and (ii) substantially
simultaneously with the filing with the Bankruptcy Court, monthly operating reports and all other notices,
filings, motions, pleadings or other information concerning the financial condition of the DIP Note Parties
or their Subsidiaries or the Chapter 11 Cases that are filed with the Bankruptcy Court. Each of the material




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motions, applications, proposed orders and pleadings must be in form and substance reasonably acceptable
to the Holder, except as otherwise provided herein.




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                                                Exhibit B

                                            Notice Addresses

If to the Company:

Katerra Inc.
2700 Post Oak Blvd Suite 2450 Houston, TX 77056
Attention: Marc Liebman, Chief Transformation Officer
E-Mail: Marc.Liebman@alvarezandmarsal.com

With a copy to (which shall not constitute notice):

Kirkland & Ellis LLP
601 Lexington Ave
New York, NY 10022
Attention: Joshua A. Sussberg, P.C.
           Christine Okike, P.C.

E-mail:      joshua.sussberg@kirkland.com
             christine.okike@kirkland.com

- and-

Kirkland & Ellis LLP
300 North LaSalle, Suite 2400
Chicago, IL 60654
Attention: Michelle Kilkenney, P.C.
           Sean Hilson

E-mail:      mkilkenney@kirkland.com
             sean.hilson@kirkland.com

If to the Holder:

SB Investment Advisers (UK) Limited, a UK private limited company
c/o SB Investment Advisers (US) Inc.
1 Circle Star Way
San Carlos, CA 94070

Attention: Legal
E-mail: sbia-legal@softbank.com

With a copy to (which shall not constitute notice):

Weil, Gotshal & Manges LLP
767 Fifth Ave.
New York, NY 10153
Attention: Dan Dokos
           Gary Holtzer
           Jessica Liou




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E-mail: daniel.dokos@weil.com
        gary.holtzer@weil.com
        jessica.liou@weil.com




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                                                  Exhibit D

                                              Case Milestones

The DIP Note Parties shall pursue and achieve the following milestones in form and substance acceptable
to the Holder:

        (a)     on or before the date that is two (2) Business Days after the Petition Date, the Bankruptcy
Court shall have entered the Interim DIP Order;

         (b)     on or before the date that is five (5) days after the Petition Date, the DIP Note Parties shall
file with the Bankruptcy Court a sale motion and bid procedures motion in form and substance reasonably
acceptable to the Holder;

        (c)     on or before the date that is thirty five (35) days after the Petition Date, the Bankruptcy
Court shall have entered the Final DIP Order;

        (d)      on or before the date that is forty-five (45) days after the Petition Date (i) the Bankruptcy
Court shall have entered an order establishing bid procedures in form and substance reasonably acceptable
to the Holder (the “Bid Procedures Order”) which shall, among other things, provide that the deadline for
bidding be a date not later than fifty-five (55) days from the Petition Date and the Bid Procedures Order
shall approve entry into one or more agreements that provide for one or more Acceptable Sale(s), or (ii) the
Company shall have obtained a binding commitment for a Replacement DIP and filed a motion with the
Bankruptcy Court seeking entry of an order approving such Replacement DIP and the indefeasible
repayment in full in cash of the Balance;

         (e)   on or before the date that is sixty (60) days after the Petition Date, either (i) one or
more sale orders in form and substance acceptable to the Holder with respect to one or more
Acceptable Sales shall have been entered by the Bankruptcy Court, or (ii) the Bankruptcy Court
shall have entered one or more orders approving the Debtors’ entry into a Replacement DIP and
the indefeasible repayment in full in cash of the Balance (the “DIP Refinancing Order”);

        (f)      if the DIP Refinancing Order is entered, on or before the date that is three (3) days
after entry of the DIP Refinancing Order, the Balance shall be repaid in full in cash with the net
cash proceeds of the Replacement DIP;

         (g)      on or before the date that is sixty (60) days after the Petition Date, the DIP Note Parties
shall file with the Bankruptcy Court an Acceptable Plan and a disclosure statement with respect to such
Acceptable Plan (the “Disclosure Statement”); provided, that the DIP Note Parties’ compliance with this
milestone shall not be affected by technical and immaterial changes and other changes, modifications and
supplements to such Acceptable Plan and Disclosure Statement that are reasonably acceptable to the Holder
filed with the Bankruptcy Court subsequent to the original filing of such Acceptable Plan and Disclosure
Statement;

       (h)     on or before the date that is seventy (70) days after the Petition Date, one or more
Acceptable Sales shall be consummated;

        (i)      on or before the date that is ninety (90) days after the Petition Date, the Bankruptcy Court
shall have entered an order approving the Disclosure Statement;




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       (j)    on or before the date that is one hundred twenty (120) days after the Petition Date, the
Bankruptcy Court shall have entered the Confirmation Order; and

       (k)     on or before the date that is one hundred thirty five (135) days after the Petition Date, the
Acceptable Plan shall be effective.




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                                   SCHEDULE 1

                                Existing Indebtedness


                                 Separately attached.




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                                   SCHEDULE 2

                                   Existing Liens


                                 Separately attached.




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                            Schedule 2

                         Initial DIP Budget
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Katerra Inc.
Debtor-in-Possession (DIP) Financing Budget
As of 06/05/21
                                                   1                  1                  1                  1                  1                  1                  1                  1                  1                  1                  1                  1
                                            1                  2                 3                  4                  5                  6                  7                  8                  9                  10                 11                 12
($000s)            Week Ended           06/11/21           06/18/21           06/25/21           07/02/21           07/09/21           07/16/21           07/23/21           07/30/21           08/06/21           08/13/21           08/20/21           08/27/21           TOTAL
Cash Receipts:
        Job-Related Collections     $         -        $         -        $         -        $         -        $         -        $         -        $         -        $         -        $       9,050      $         -        $         -        $          -       $      9,050
       Joint Check Funding, net               -                  -                  -                  416                -                  -                  -                  416                -                  -                  -                   -                833
  BU Optg Receipts (LAS, Reno)              5,906              2,908              2,840              4,247                -                  -                  -                  -                  -                  -                  -                   -             15,901
                 Asset Sales (1)              -                  -                  -                  -                2,500                -                  -                  -                1,000             50,000                -                   -             53,500
                Other Receipts                -                  -                4,563                -                  -                  -                  -                  -                  -                  -                2,010                 -              6,573
            Total Cash Receipts     $       5,906      $       2,908      $       7,403      $       4,664      $       2,500      $         -        $         -        $         416      $      10,050      $      50,000      $       2,010      $          -       $     85,857

Operating Disbursements:
   Payroll & Benefits (excl BUs)    $      (1,731) $             -    $           (1,731) $             -    $          (1,772) $             -    $          (1,541) $             (92) $          (1,448) $            (686) $          (1,541) $          (2,246)    $    (12,789)
       Sub-Contractors / COGS              (7,976)           (10,523)             (3,333)            (2,623)            (2,000)            (2,000)            (3,333)            (1,000)            (2,623)            (3,034)               -               (1,333)         (39,780)
                            Rent              -                  -                   -               (1,071)               -                  -                  -                  -               (1,071)               -                  -                  -             (2,143)
                      Insurance               -                  -                   -               (1,018)               -                  -                  -                  -               (1,018)               -                  -               (1,018)          (3,053)
 BU Optg Expenses(LAS, Reno)               (4,154)            (2,698)             (4,384)            (5,039)               -                  -                  -                  -                  -                  -                  -                  -            (16,275)
           Corporate Expenses                (458)              (453)               (724)              (453)              (458)              (453)              (458)              (453)              (458)              (453)              (458)              (453)          (5,729)
                    Other/Misc                -                  -                   -                  -                  -                  -                  -                  -                  -                  -                  -                  -                -
           Total Disbursements      $     (14,318) $         (13,674) $          (10,172) $         (10,205) $          (4,230) $          (2,453) $          (5,332) $          (1,545) $          (6,619) $          (4,173) $          (1,998) $          (5,050)    $    (79,768)

                 Net Cash Flows     $      (8,412) $         (10,767) $           (2,769) $         (5,541) $          (1,730) $          (2,453) $          (5,332) $          (1,129) $           3,432      $      45,827      $          12      $      (5,050)     $      6,089

Other Disbursements:
       Professional Fees (2) (3)    $      (1,512) $          (1,512) $           (1,609) $          (1,609) $          (1,717) $          (1,402) $          (1,213) $          (1,686) $          (1,213) $          (5,027) $          (1,583) $          (3,252)    $    (23,336)
          Other Disbursements                 -                  -                   -                  -                  -                  -                  -                  -                  -                  -                  -                  -                -
          Other Disbursements       $      (1,512) $          (1,512) $           (1,609) $          (1,609) $          (1,717) $          (1,402) $          (1,213) $          (1,686) $          (1,213) $          (5,027) $          (1,583) $          (3,252)    $    (23,336)

                 Net Cash Flows     $      (9,924) $         (12,279) $           (4,378) $         (7,150) $          (3,447) $          (3,855) $          (6,545) $          (2,815) $           2,218      $      40,800      $      (1,571) $          (8,302)     $    (17,246)

 Beginning Book Cash Balance        $      20,053 $           25,128 $           12,850 $             8,472 $           1,322 $             5,875 $           2,021 $             5,476 $            2,661 $            3,879 $          12,679 $           11,109      $     20,053
               Net Cash Flow               (9,924)           (12,279)            (4,378)             (7,150)           (3,447)             (3,855)           (6,545)             (2,815)             2,218             40,800            (1,571)            (8,302)          (17,246)
                 DIP Funding               15,000                -                  -                   -              10,000                 -              10,000                 -                  -                  -                 -                  -              35,000
               DIP Paydowns                   -                  -                  -                   -              (2,000)                -                 -                   -               (1,000)           (32,000)              -                  -             (35,000)
   Ending Book Cash Balance         $      25,128 $           12,850 $            8,472 $             1,322 $           5,875 $             2,021 $           5,476 $             2,661 $            3,879 $           12,679 $          11,109 $            2,806      $      2,806




          DIP Beginning Balance     $         -        $      15,000      $      15,000      $      15,000      $      15,000 $           23,000      $      23,000      $      33,000      $      33,000 $            32,000 $             -        $          -       $        -
                    DIP Funding            15,000                -                  -                  -               10,000                -               10,000                -                  -                   -                 -                   -             35,000
                      DIP Draws               -                  -                  -                  -               (2,000)               -                  -                  -               (1,000)            (32,000)              -                   -            (35,000)
             Ending DIP Balance     $      15,000      $      15,000      $      15,000      $      15,000      $      23,000 $           23,000      $      33,000      $      33,000      $      32,000 $               -    $            -        $          -       $        -


Notes:
(1) Net Sales; Timing of consumated sells TBD
(2) Professional Fees (excl DIP Lender Fees) on an as incurred/accrued basis vs. cash basis; Actual cash flow timing dependent on professional fee retentions and orders
(3) DIP Lender Fees paid at time of DIP payoff

                                        06/11/21           06/18/21           06/25/21      07/02/21      07/09/21                     07/16/21           07/23/21           07/30/21           08/06/21           08/13/21           08/20/21           08/27/21           TOTAL
(4) LAS/Reno Net Cash Flows         $       1,752      $         209      $       (1,544) $       (792) $        -                 $          -       $          -       $          -       $          -       $          -       $          -       $          -               (375)
